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          EXHIBIT A
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LECKMAN LAW LLC                                              Filed and Attested by the
                                                            Office of Judicial Records
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                                             )
 ZENAIDA TALAVERA,                           )   COURT OF COMMON PLEAS
 14641 Delano St., Apt. 17                   )   PHILADELPHIA COUNTY
 Van Nuys, CA 91411,                         )
                                             )   OCTOBER TERM, 2018
                                             )
             Plaintiff,                      )   NO:
             vs.                             )
                                             )
 BAYER CORP., 100 Bayer Rd. Building 4,      )   JURY TRIAL DEMAND
 Pittsburgh, Allegheny County, PA 15205,     )
 and                                         )   PETITION FOR DAMAGES
 BAYER U.S. LLC, 100 Bayer Road, Pittsburgh, )
 Allegheny County, PA 15205,                 )
 and                                         )
 BAYER HEALTHCARE LLC., 100 Bayer            )
 Blvd., Whippany, NJ 07981,                  )
 and                                         )
 BAYER ESSURE, INC., 100 Bayer Boulevard, )
 Whippany, NJ 07981,                         )
 and                                         )
 BAYER HEALTHCARE                            )
 PHARMACEUTICALS, INC., 100 Bayer            )
 Blvd., Whippany, NJ 07981,                  )
                                             )
                        Defendants.          )
                                             )




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                                     NOTICE TO DEFEND
                   NOTICE:                                             AVISO:

         You have been sued in court. If you                Le han demandado a usted en la corte.
wish to defend against the claim set forth in the   Si usted quiere defenderse de estas demandas
following pages, you must take action within        expuestas en las paginas siguientes, usted tiene
twenty (20) days after this Complaint and           veinte dias de plazo al partir de la fecha de la
Notice are served, by entering a written            demanda y la notificacion. Hace falta ascentar
appearance personally or by attorney, and           una comparencia escrita o en persona o con un
filing in writing with the Court your defenses      abogado y entregar a la corte en forma escrita
or objections to the claims set forth against       sus defensas o sus objeciones a las demandas
you. You are warned that if you fail to do so       en contra de su persona. Sea avisado que si
the case may proceed without you and a              usted no se defiende, la corte tomara medidas y
judgment may be entered against you by the          puede continuar la demanda en contra suya sin
Court without further notice for any money          previo aviso o notificacion. Ademas, la corte
claimed in the Complaint or for any other           puede decidir a favor del demandante y
claims or relief requested by the Plaintiff. You    requiere que usted cumpla con todas las
may lose money or property or other rights          provisiones de esta demanda. Usted puede
important to you.                                   perder dinero o sus propiedades u otros
         YOU SHOULD TAKE THIS PAPER                 derechos importantes para usted.
TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER OR CANNOT                           LLEVE ESTA DEMANDA A UN
AFFORD ONE, GO TO OR TELEPHONE                      ABOGADO IMMEDIATAMENTE. SI NO
THE OFFICE SET FORTH BELOW TO                       TIENE ABOGADO O SI NO TIENE EL
FIND OUT WHERE YOU CAN GET LEGAL                    DINERO SUFICIENTE DE PAGAR TAL
HELP. THIS OFFICE CAN PROVIDE YOU                   SERVICIO, VAYA EN PERSONA O
WITH INFORMATION ABOUT HIRING A                     LLAME POR TELEFONO A LA OFICINA
LAWYER.                                             CUYA DIRECCION SE ENCUENTRA
         IF YOU CANNOT AFFORD TO                    ESCRITA ABAJO PARA AVERIGUAR
HIRE A LAWYER, THIS OFFICE MAY BE                   DONDE SE PUEDE CONSEGUIR
ABLE TO PROVIDE YOU WITH                            ASISTENCIA LEGAL.
INFORMATION ABOUT AGENCIES THAT
MAY OFFER LEGAL SERVICES TO                           Asociacion De Licenciados De Filadelfia
ELIGIBLE PERSONS AT A REDUCED FEE                    Servicio De Referencia E Informacion Legal
OR NO FEE.                                                  1101 Market Street, 10th Floor
           Philadelphia Bar Association                         Filadelfia, PA 19107
    Lawyer Referral and Information Center                    (215) 238-6300 (Telefono)
          1101 Market Street, 10th Floor
             Philadelphia, PA 19107




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                                COMPLAINT – CIVIL ACTION
                                  PRODUCT LIABILITY

       Plaintiffs, by and through undersigned counsel, file this Complaint against Defendants,

Bayer Corporation, Bayer U.S. LLC, Bayer HealthCare LLC, Bayer Essure ®, Inc. (f/k/a

Conceptus), and Bayer Healthcare Pharmaceuticals, Inc. (collectively the “Bayer Defendants” or

“Defendants” or “Bayer”) and in support thereof make the following allegations:

                              PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff is a resident of California.

       2.      BAYER CORPORATION is a for-profit corporation incorporated in the State of

Indiana. At all relevant times, Bayer Corporation’s principal office was located at 100 Bayer Rd.

Building 4, Pittsburgh, Allegheny County, PA 15205. Bayer Corporation is a wholly-owned

subsidiary of Bayer AG. Recently, on or around January 1, 2017, Bayer Corporation changed its

principal office to New Jersey. However, Bayer Corporation’s officers are located in Pittsburgh,

Pennsylvania. Defendant, Bayer Corporation, is currently a citizen of New Jersey and Indiana, and

is authorized to do and does business throughout the Commonwealth of Pennsylvania. Defendant,

Bayer Corporation, is engaged in the business of researching, developing, designing, licensing,

manufacturing, distributing, selling, and marketing its products, including the Essure® device.

       3.      BAYER U.S. LLC and/or Bayer U.S. LLC has its principal please of business at

100 Bayer Road, Pittsburgh, Allegheny County, PA 15205, and an address registered with the

Pennsylvania Secretary of State in Dauphin County, PA. Defendant is a citizen of Pennsylvania,

either through incorporation in Pennsylvania or through having its principal place of business in

Pennsylvania, and is authorized to do and does business throughout the Commonwealth of

Pennsylvania. Defendant, Bayer U.S. LLC and/or BAYER U.S. LLC, is engaged in the business




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of researching, developing, designing, licensing, manufacturing, distributing, selling, and

marketing its products, including the Essure® device.

       4.      BAYER HEALTHCARE LLC is a for-profit corporation incorporated in the State

of Delaware and is a wholly-owned subsidiary of Bayer AG. Defendant, Bayer HealthCare LLC.,

has a principal office at 100 Bayer Blvd., Whippany, NJ 07981. Defendant, Bayer HealthCare

LLC, is a citizen of Delaware, Pennsylvania, and New Jersey, and is authorized to do and does

business throughout the Commonwealth of Pennsylvania. Defendant, Bayer HealthCare LLC, is

engaged in the business of researching, developing, designing, licensing, manufacturing,

distributing, selling, and marketing its products, including the Essure® device.

       5.      BAYER ESSURE®, INC. (f/k/a CONCEPTUS, INC.) is a for-profit corporation

incorporated in the State of Delaware and is a wholly-owned subsidiary of Bayer AG and/or Bayer

HealthCare LLC. On or about April 28, 2013, Conceptus, Inc. entered into an Agreement and Plan

of Merger (the “Merger Agreement”) with Bayer HealthCare LLC. On or about June 5, 2013,

pursuant to the Merger Agreement, Conceptus, Inc. became a wholly-owned subsidiary of Bayer

HealthCare LLC and/or Bayer AG, and thereafter renamed “Bayer Essure® Inc.” For purposes of

this Complaint, Conceptus, Inc. and Bayer Essure® Inc. are one and the same. Bayer Essure® Inc.

has a principal office at 100 Bayer Boulevard, Whippany, NJ 07981. Defendant, Bayer Essure®

Inc., is a citizen of Delaware and New Jersey, and is authorized to do and does business throughout

the Commonwealth of Pennsylvania. Defendant, Bayer Essure® Inc., is engaged in the business

of researching, developing, designing, licensing, manufacturing, distributing, selling, and

marketing its products, including the Essure® device.

       6.      BAYER HEALTHCARE PHARMACEUTICALS, INC. is a for-profit corporation

incorporated in the State of Delaware and is a wholly-owned subsidiary of Bayer AG. Defendant



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Bayer HealthCare Pharmaceuticals, Inc., has a principal office of 100 Bayer Blvd., Whippany, NJ

07981. Defendant, Bayer Healthcare Pharmaceuticals, Inc., is a citizen of Delaware and New

Jersey, and is authorized to do and does business throughout the Commonwealth of Pennsylvania.

Defendant, Bayer Healthcare Pharmaceuticals, Inc., is engaged in the business of researching,

developing, designing, licensing, manufacturing, distributing, selling, and marketing its products,

including the Essure® device.

        7.       Defendants Bayer Corporation, Bayer U.S. LLC, Bayer HealthCare LLC, and

Bayer Essure®, Inc. are hereafter collectively referred to as “Bayer,” or “Defendants,” or the

“Bayer Defendants.”

        8.       At all relevant times herein mentioned, Bayer authorized and directed and/or

participated in the promotion and sale of Essure®, when they knew, or with the exercise of

reasonable care should have known, of the increased risks, hazards, and unreasonable dangerous

propensities, and thereby actively participated in the tortious conduct which resulted in the serious

injuries to the Plaintiff described herein.

        9.       There exists, and at all times herein mentioned, there existed, a unity of interest in

ownership between the certain Defendants and other Defendants such that any individuality and

separateness between them has ceased and these Defendants are the alter ego of the other certain

Defendants and exerted control over those Defendants. Adherence to the fiction of the separate

existence of these certain Defendants as any entity distinct from other certain Defendants will

permit an abuse of the corporate privilege and would sanction fraud and/or would promote

injustice.

        10.      At all times herein mentioned, the Bayer Defendants were engaged in the business

of, or were successors in interest to, entities engaged in the business of researching, designing,



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formulating, compounding, testing, manufacturing, producing, assembling, inspecting,

distributing, marketing, labeling, promoting, packaging, prescribing and/or advertising for sale,

and selling the Essure® device, and processing, reporting, and storing adverse events related to

the device. These products were for use by the Plaintiff and Plaintiff’s physicians. As such, each

of the Bayer Defendants are individually, as well as jointly and severally, liable to the Plaintiff for

their damages.

        11.      The harm caused to Plaintiff resulted from the conduct of one or various

combinations of the Defendants, and through no fault of Plaintiff. There may be uncertainty as to

which one or which combination of Defendants caused the harm. Defendants have superior

knowledge and information on the subject of which one, or which combination of, the Defendants

caused Plaintiff’s injuries.

        12.      Thus, the burden of proof should be upon each Defendant to prove that the

Defendant has not caused the harms suffered by the Plaintiff.

                                  JURISDICTION AND VENUE

        13.      This Court has personal jurisdiction, pursuant to 42 Pa.C.S. § 5301 et seq., over the

Defendants because, at all relevant times, they have engaged in continuous and substantial business

activities in the Commonwealth of Pennsylvania.

        14.      This court has general personal jurisdiction because the U.S. Headquarters for the

parent Bayer entity, Bayer AG, and Bayer Pharma AG, is located in Pittsburgh, Pennsylvania. 1

        15.      Further, during all relevant times, Bayer Corporation was held out as the “US

headquarters of pharmaceuticals and materials giant Bayer AG,” which oversaw “The US



1
 See “HQ” designation at Pittsburgh, Pennsylvania location, http://www.bayer.us/en/contact-us/ (last
updated November 24, 2017) (last visited January 28, 2018).
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subsidiaries of Bayer’s three global divisions: Bayer Healthcare (pharmaceuticals, animal health,

and over-the counter medicines), MaterialScience (plastics, coatings and polyurethanes), and

Bayer CropScience (herbicides, fungicides and insecticides).” At all relevant times, Bayer

Corporation was located at 100 Bayer Rd., Pittsburgh, PA 15205.

        16.     As alleged in throughout, the Bayer entities herein are unitary, so that jurisdiction

over the parent would draw jurisdiction over the subsidiaries.

        17.     Defendants engaged in conduct in the Commonwealth of Pennsylvania that was so

“continuous and systematic” as to render them “at home” in the forum state, including but not

limited to business, marketing, regulatory and research activities.

        18.     Defendant, Bayer HealthCare LLC, is a citizen of Pennsylvania.

        19.     Defendant BAYER U.S. LLC / Bayer U.S. LLC has its principal office in

Pittsburgh, Pennsylvania.

        20.     At all times relevant, Defendants were engaged in the business of designing,

researching, developing, testing, licensing, manufacturing, marketing, advertising, promoting,

selling, distributing, and/or introducing into interstate commerce throughout the United States,

which necessarily includes the Commonwealth of Pennsylvania, and Philadelphia, either directly

or indirectly through third parties, subsidiaries or related entities, the Essure ® device.

        21.     Furthermore, key officers and employees of the Bayer Defendants are located in

Pennsylvania, including but not limited to Keith Abrams, who is an officer of Bayer Corporation,

manager of Bayer U.S. LLC, and Assistant Secretary of Bayer Essure, Inc., Bayer HealthCare

Pharmaceuticals, Inc., and Bayer HealthCare LLC. 2



2
 See https://www.corporationwiki.com/Pennsylvania/Pittsburgh/keith-r-abrams-P7498713.aspx (last
visited January 29, 2018); and https://www.americanconference.com/speakers/mr-keith-abrams/ (last
visited January 29, 2018).
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               a.         Helmut Hegger, President of Bayer Business and Technology Services LLC
                          (BBTS), is located in Pennsylvania.3 BBTS is listed with the Pennsylvania
                          Secretary of State as a prior name to Bayer U.S. LLC, which now (as of
                          January 2017) maintains employees from multiple Bayer entities, including
                          Defendants Bayer Essure, Bayer HealthCare LLC, and Bayer HealthCare
                          Pharmaceuticals.
               b.         Also, Dan Cella, the treasurer for Bayer AG, is located in Pennsylvania. 4
               c.         Bayer Corporation maintains officers in Pennsylvania, including: Jon R.
                          Wyne, Treasurer; Klaus H. Risse, President; Melvyn A. Silver, Vice
                          President; and Stephen B. Paige, Secretary. 5
       22.     There is also “specific” personal jurisdiction, because Defendants used the

Commonwealth of Pennsylvania to develop, create a marketing strategy for, label, and/or work on

the regulatory approval for Essure®, and all of the Plaintiff’s claims arise out of or relate to the

Defendants’ contacts with Pennsylvania.

       23.     For example, at all relevant times, Bayer AG and Bayer Pharma AG were

headquartered in Pittsburgh, PA, and regulatory activities such as due diligence, postmarket

integration activities, and postmarket safety surveillance were conducted by these entities.

               a. Pennsylvania was the site of clinical studies regarding Essure ®.

                    i.       Pennsylvania was a site of the ESS305 Post-Approval Study, whose
                             purpose was to document the bilateral placement of the ESS305 model.
                             The data obtained from this study was intended to be used to update
                             labeling and training procedures.6
                    ii.      Pennsylvania was also a site for the ESS-NSPAS Study to Evaluate the
                             Effectiveness of Essure Post-NovaSure Radiofrequency Endometrial
                             Ablation Procedure Following a Successful Essure Confirmation Test. 7


3
  See http://www.bayer.us/en/about-bayer/leadership/helmut-hegger/ (last updated August 18, 2017).
4
  See January 23, 2018 FEC filing available at
http://docquery.fec.gov/pdf/531/201801239090524531/201801239090524531.pdf#navpanes=0.
5
  See https://www.corporations.pa.gov/Search/CorpSearch (last visited February 8, 2018).
6
  See Clinical Data Final Report: Ess305 Post-Approval Study, located at
https://www.fda.gov/ucm/groups/fdagov-public/@fdagov-afda-
orgs/documents/document/ucm413805.pdf (last visited January 29, 2018).
7
  See https://clinicaltrials.gov/ct2/show/study/NCT01740687?show_locs=Y#contacts (last visited January
29, 2018).
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               b. Ben Zhang, located in Pennsylvania, was the “Head of Business Transformation
                  and Change Management” from 2009-2015, where he was responsible for
                  overseeing a consultant team, team management, development and training,
                  recruiting, and business development. He also served as “Interim Head of
                  Consumer Relations” where he was responsible for “resolution of product
                  liability, adverse event and crisis management issues.”8 Additionally, Mr.
                  Zhang was on the HealthCare Management Board, where he “[s]upported
                  commercial due diligence and led the post-merger integration for Bayer’s
                  $1.1bn Conceptus acquisition.”9
               c. Further, Bayer HealthCare LLC, which is a citizen of Pennsylvania, is and was
                  at all relevant times, responsible for the manufacturing of Essure ®.
               d. Bayer Corporation was, at all relevant times, responsible for the finance
                  administration of Essure®.
               e. Defendants and their agents, located in Pennsylvania, were involved with the
                  acquisition of Conceptus by Bayer AG.
               f. The Bayer Defendants also conducted sales and marketing activities in
                  Pennsylvania, including but not limited to those activities conducted through
                  sales representatives such as Matthew Hladek and Monica Anderson.
                      i.   Additionally, Pennsylvania was home to Key Opinion Leaders, or
                           “KOLs” for Bayer, including Carl R. Della Badia, D.O. of Drexel
                           University – College of Medicine in Philadelphia, Pennsylvania. Dr.
                           Della Badia was a 2008 member of the Speaker’s Bureau for Conceptus,
                           Inc.10 Larry R. Glazerman, M.D., MBA of Mainline Health System in
                           Wynnewood, Pennsylvania, was also a member.11 Further, Dr. John
                           Roizin was a KOL for Bayer, and received payments for Essure ®.12
       24.     At all relevant times, the Bayer Defendants transacted, solicited, and conducted

business in Pennsylvania through their employees, agents, and/or sales representatives, and

derived substantial revenue from such business in Pennsylvania, and committed torts in whole or

in part against Plaintiff in Pennsylvania including but not limited to negligent and wrongful




8
  See Linkedin page for Ben Zhang, available at https:www.linkedin.com/in/benzhang2009/.
9
  Id.
10
   See https://www.aagl.org/files/08FinalProgram_No%20Ads.pdf (last visited January 28, 2018).
11
   See https://www.aagl.org/2012syllabus/12FinalProgram.pdf.
12
   See payments made on behalf of Bayer to Dr. Roizin at http://doctors.healthgrove.com/l/610867/John-
Roizin-in-Bethlehem-Pennsylvania#Open%20Payments&s=2GU8tV (last visited January 29, 2018).
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conduct in connection with the design, development, testing, promoting, marketing, distribution,

labeling and/or sale of Essure®.

       25.      Defendants regularly conduct substantial business in Philadelphia County,

Pennsylvania.

       26.      Further, jurisdiction is proper under 28 U.S.C.A. § 1441 (b) (“A civil action

otherwise removable solely on the basis of the jurisdiction under section 1332(a) of this title may

not be removed if any of the parties in this interest properly joined and served as Defendants is a

citizen of the State in which such action was brought.”).

       27.      Venue is proper in this Court, pursuant to Pa. R. Civ. P. 1006 and 2179, as

Pennsylvania is where the Bayer Defendants have their principal place of business and/or where

they regularly conduct business; where Plaintiff’s causes of action arose, and/or where a

transaction or occurrence took place out of which this cause of action arose.

       28.      The Plaintiff herein is properly joined in this action pursuant to Pa. R. Civ. P.

2229(a) as they assert a right to relief under the same transaction, occurrence, or series of

transactions or occurrences, and a question of law or fact is common to all Defendants in the action.

                                      INTRODUCTION

       29.      This Complaint is brought by Plaintiff who was implanted with a female birth

control device, known as “Essure.” In short, the device is intended to cause bilateral occlusion

(blockage) of the fallopian tubes by the insertion of micro-inserts into the fallopian tubes which

then anchor and elicit tissue growth, theoretically causing the blockage. However, in reality, the

device migrates from the tubes, perforates organs, breaks into pieces, and/or corrodes wreaking

havoc on the female body.




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       30.     As a result of (1) Defendants’ negligence described infra and (2) Plaintiff’s reliance

on Defendants’ warranties and representations, Defendants’ Essure device migrated/fractured

and/or punctured internal organs.

       31.     Essure had Conditional Premarket Approval (“CPMA”) by the Food and Drug

Administration (“FDA”). As discussed below, Essure became “adulterated” and “misbranded”,

pursuant to (1) the FDA due to Defendants’ failure to conform with the FDA requirements

prescribed in the CPMA and (2) violations of Federal Statutes and Regulations noted infra.

       32.     Pursuant to Defendants’ CPMA (which reads: “Failure to comply with conditions

of approval invalidates this approval order”), the C.F.R, and the Federal Food, Drug and Cosmetic

Act (“FD&C Act”): the product is “adulterated” and “misbranded” and thus, could not have been

marketed or sold to Plaintiff.

       33.     Specifically, Essure was adulterated and misbranded as Defendants (1) failed to

meet regular reporting requirements; (2) failed to report known hazards to the FDA; and (3) failed

to comply with Federal laws regarding marketing and distribution as specifically described infra.

       34.      The fact that Defendants failed to comply with these conditions is not a mere

allegation made by Plaintiff.    These failures to comply with both the CPMA and Federal

regulations are memorialized in several FDA findings, including Notices of Violations and Form

483’s issued by the FDA.

       35.     As discussed in greater detail infra, Defendants were cited by the FDA and the

Department of Health for:

               (a)        failing to report and actively concealing 8 perforations which occurred
                          as a result of Essure;

               (b)        erroneously using non-conforming material in the manufacturing of
                          Essure;



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              (c)        failing to use pre-sterile and post-sterile cages;

              (d)       manufacturing Essure at an unlicensed facility; and

              (e)       manufacturing Essure for three years without a license to do so.

       36.    Defendants were also found, by the FDA, to be:

              (a)        Not reporting … complaints in which their product migrated;

              (b)       Not reporting to the FDA incidents of bowel perforation, Essure coils
                        breaking into pieces and migrating out of the fallopian tubes;

              (c)       Only disclosing 22 perforations while having knowledge of 144
                        perforations;

              (d)       Not considering these complaints in their risk analysis for the design of
                        Essure;

              (e)       Failing to have a complete risk analysis for Essure;

              (f)       Failing to analyze or identify existing and potential causes of non-
                        confirming product and other quality problems;

              (g)       Failing to track the non-conforming product;

              (h)       Failing to follow procedures used to control products which did not
                        confirm to specifications;

              (i)       Failing to have complete Design Failure Analysis;

              (j)       Failing to document CAPA activities for a supplier corrective action;

              (k)       Failing to disclose 16,047 complaints to the FDA as MDR’s (Medical
                        Device reports which are suspected from device malfunction or
                        associated with injury); and

              (l)       Failing to provide the FDA with timely post-approval reports for its six
                        month, one year, eighteen month, and two year report schedules.

       37.    Most egregiously, on May 30, 2013, the FDA uncovered an internal excel

spreadsheet with 16,047 entries for complaints which were not properly reported to the FDA.

Here, Defendant did not disclose to the FDA complaints where its product migrated outside of the



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fallopian tube. Defendants excuse was that those complaints were not reported because the

patients were “not –at last contact- experiencing pain….and were mere trivial damage that does

not rise to the level of a serious injury.”   Accordingly, the FDA again warned Defendants for

violations of the FD&C Act.

       38.     As a result, the “adulterated” and “misbranded” product, Essure, which was

implanted in Plaintiff should never have been marketed or sold to Plaintiff pursuant to Federal law.

       39.     Lastly, Defendants concealed and altered the medical records of its own trial

participants to reflect favorable data. Specifically, Defendants altered medical records to reflect

less pain then was being reported during the clinical studies for Essure and changed the birth dates

of others to obtain certain age requirements that were needed to go through the PMA process.

Subsequently, Defendants failed to disclose this and concealed it from Plaintiff and their

implanting physicians.

       40.     Plaintiff’s causes of action are all based on deviations from the requirements in the

CPMA and/or violations of Federal statutes and regulations.

       41.     Plaintiff’s causes of action are also based entirely on the express warranties,

misrepresentations, and deceptive conduct of Defendants, which were relied upon by Plaintiff prior

to having the device implanted. Under Pennsylvania law, Plaintiff’s claims for breach of express

warranties are not preempted by the Medical Device Act (“MDA”).

       42.       In addition, Defendants failed to comply with the following express conditions

and Federal regulations:

               (a)     “Within 10 days after Defendant receives knowledge of any adverse
                       reaction to report the matter to the FDA.”

               (b)     “Report to the FDA under the MDR whenever it receives information from
                       any source that reasonably suggests that the device may have caused or
                       contributed to a serious injury.”

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               (c)      Report Due Dates- six month, one year, eighteenth month, and two year
                        reports.

               (d)      A device may not be manufactured, packaged, stored, labeled, distributed,
                        or advertised in a manner that is inconsistent with any conditions to
                        approval specified in a CPMA approval order for the device. 21 C.F.R.
                        Section 814.80.

               (e)      Effectiveness of Essure is established by annually reporting on the 745
                        women who took place in the clinical tests.

               (f)      Successful bilateral placement of Essure is documented for newly trained
                        physicians.

               (g)      Warranties are truthful, accurate, and not misleading.

               (h)      Warranties are consistent with applicable Federal and State law.

        43.    These violations rendered the product “adulterated” and “misbranded”- precluding

Defendants from marketing or selling Essure per the FDA, and, more importantly endangered the

lives of Plaintiff and hundreds of thousands of women.

        44.    Defendants actively concealed these violations and never advised Plaintiff of the

same.   Had Plaintiff known that Defendants were concealing adverse reactions, not using

conforming material approved by the FDA (and failing to track the nonconforming material), not

using sterile cages, operating out of an unlicensed facility, and manufacturing medical devices

without a license to do the same, they never would have had Essure implanted.

                        DESCRIPTION OF ESSURE AND HOW IT WORKS

        45.    Essure is a permanent form of female birth control (female sterilization). The

device is intended to cause bilateral occlusion (blockage) of the fallopian tubes by the insertion of

micro-inserts into the fallopian tubes which then anchor and elicit tissue growth, theoretically

causing the blockage.




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          46.   Essure consists of (1) micro-inserts; (2) a disposable delivery system; and (3) a

disposable split introducer. All components are intended for a single use.

          47.   The micro-inserts are comprised of two metal coils which are placed in a woman’s

fallopian tubes via Defendants’ disposable delivery system and under hysteroscopic guidance

(camera).

          48.   The hysteroscopic equipment needed to place Essure was manufactured by a third

party, is not a part of Defendants’ CPMA, and is not a part of Essure. However, because Plaintiff’s

implanting physicians did not have such equipment, Defendants provided it so that it could sell

Essure.

          49.   The coils are comprised of nickel, steel, nitinol, and PET fibers. In other words,

the coils are metal-on-metal.

          50.   Defendants’ disposable delivery system consists of a single handle which contains

a delivery wire, release catheter, and delivery catheter.    The micro-inserts are attached to the

delivery wire. The delivery handle controls the device, delivery, and release.       Physicians are

allowed to visualize this complicated process through the hysteroscopic equipment provided by

Defendants.

          51.   After placement of the coils in the fallopian tubes by Defendants’ disposable

delivery system, the micro-inserts expand upon release and are intended to anchor into the

fallopian tubes. The PET fibers in the coil allegedly elicit tissue growth blocking off the fallopian

tubes.

          52.   The coils are alleged to remain securely in place in the fallopian tubes for the life

of the consumer and not migrate, break, or corrode.




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       53.     After three months following the device being implanted, patients are to receive a

“Confirmation” test to determine that the micro-inserts are in the correct location and that the tissue

has created a complete occlusion. This is known as a hysterosalpinogram (“HSG Test” or

“Confirmation Test”).

       54.     Regardless of the Confirmation Test, Defendants warrant that Essure allows for

visual confirmation of each insert’s proper placement during the procedure.

       55.     Essure was designed, manufactured, and marketed to be used by the average

gynecologists throughout the world, as a “quick and easy” and “non-surgical” outpatient procedure

to be done without anesthesia.

                                       EVOLUTION OF ESSURE

       56.     Essure was first designed and manufactured by Conceptus, Inc. (“Conceptus”).

       57.     Conceptus and Defendants merged on or about April 28, 2013.

       58.     For purposes of this lawsuit, Conceptus and Defendants are one in the same.

       59.     Essure, a Class III medical device, is now manufactured, sold, distributed,

marketed, and promoted by Defendants.

       60.     Defendants also trained physicians on how to use its device and other hysteroscopic

equipment, including Plaintiff’s implanting physicians.

       61.     Prior to the merger between Conceptus and Bayer defendants, Conceptus obtained

CPMA for Essure.

       62.     By way of background, Premarket Approval (“PMA”) is the FDA process of

scientific and regulatory review to evaluate the safety and effectiveness of Class III medical

devices. According to the FDA, Class III devices are those that support or sustain human life, are




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of substantial importance in preventing impairment of human health, or which present a potential,

unreasonable risk of illness or injury.

       63.     PMA is intended to be a stringent type of device marketing application required by

the FDA. The applicant must receive FDA approval of its PMA application prior to marketing the

device. PMA approval is based on a determination by the FDA.

       64.     An approved PMA is, in effect, a private license granting the applicant (or owner)

permission to market the device- assuming it complies with federal laws, any CPMA order and is

not “adulterated” or “misbranded.”

       65.     FDA regulations provide 180 days to review the PMA and make a determination.

In reality, the review time is normally longer. Before approving or denying a PMA, the appropriate

FDA advisory committee may review the PMA at a public meeting and provide FDA with the

committee's recommendation on whether FDA should approve the submission.

       66.     However, the PMA process for Essure was “expedited” and several trial candidates’

medical records were altered to reflect favorable data.

       67.     According to the FDA, a class III device that fails to meet CPMA requirements is

considered to be adulterated under section 501(f) of the Federal Food, Drug, and Cosmetic Act

(“FD&C Act”) and cannot be marketed, distributed, or advertised under 21 C.F.R. 814.80.

       68.     Regarding the Premarket Approval Process, devices can either be “approved,”

“conditionally approved,” or “not approved.”

       69.     Essure was “conditionally approved” or in other words, had only CPMA not

outright PMA, the “gold standard.”




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           70.     In the CPMA Order issued by the FDA, the FDA expressly stated, “Failure to

comply with the conditions of approval invalidates this approval order 13.” The following were

conditions of approval:

                   (a)      “Effectiveness of Essure is established by annually reporting on the 745
                            women who took part in clinical tests.”

                   (b)      “Successful bilateral placement of Essure is documented for newly trained
                            physicians.”

                   (c)      “Within 10 days after Defendant receives knowledge of any adverse
                            reaction to report the matter to the FDA.”

                   (d)      “Report to the FDA whenever it receives information from any source that
                            reasonably suggests that the device may have caused or contributed to a
                            serious injury.”

                   (e)      Effectiveness of Essure is established by annually reporting on the 745
                            women who took place in the clinical tests.

                   (f)      Successful bilateral placement of Essure is documented for newly trained
                            physicians.

                   (g)      Warranties are truthful, accurate, and not misleading.

                   (h)      Warranties are consistent with applicable Federal and State law.

                   (i)      Conduct a post approval study in the US to document the bilateral
                            placement rate for newly trained physicians.

                   (j)      Include results from the annual reporting on the patients who took part in
                            the Pivotal and Phase II clinical investigations in the labeling as these data
                            become available.

                   (k)      Submit a PMA supplement when unanticipated adverse effects, increases in
                            the incidence of anticipated adverse effects, or device facilitates, necessitate
                            a labeling, manufacturing, or device modification.

                   (l)      Submit a PMA supplement whenever there are changes to the performance
                            of the device.




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     Note: The CPMA order does not read…failure to comply may invalidate the order.

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                    REQUIREMENTS UNDER FEDERAL REGULATIONS

       71.      The CPMA also required Defendants to comply with the Medical Device

Reporting regulations and post market requirements for Class III medical devices:

              (a)     report to the FDA within thirty (30) days whenever they receive or otherwise
                      become aware of information, from any source, that reasonably suggests
                      a device may have caused or contributed to serious injury;

              (b)     report to the FDA within thirty (30) days whenever they receive notice of
                      serious injury;

              (c)     report to the FDA information suggesting that one of the Manufacturer’s
                      devices may have caused or contributed to a death or serious injury, or has
                      malfunctioned and would be likely to cause death or serious injury if the
                      malfunction were to recur, 21 CFR §§ 803.50 et seq.;

              (d)     monitor the product after pre-market approval and to discover and report
                      to the FDA any complaints about the product's performance and any
                      adverse health consequences of which it became aware and that are or may
                      be attributable to the product, 21 CFR §§ 814 et seq.;

              (e)     submit a PMA Supplement for any change in Manufacturing Site, 21 CFR
                      §§ 814.39 et seq.;

              (f)     establish and maintain quality system requirements to ensure that quality
                      requirements are met, 21 CFR § 820.20 et seq.;

              (g)     establish and maintain procedures for validating the device design,
                      including testing of production units under actual or simulated use
                      conditions, creation of a risk plan, and conducting risk analyses, 21 CFR
                      §§ 820.30 et seq.

              (h)     document all Corrective Action and Preventative Actions taken by the
                      Manufacturer to address non-conformance and other internal quality
                      control issues, 21 CFR §§ 820.100 et seq.

              (i)     establish internal procedures for reviewing complaints and event reports, 21
                      CFR §§ 820.198, §§ 820.100 et seq. and §§ 820.20 et seq.

              (j)     establish Quality Management System (QMS) procedures to assess
                      potential causes of non-conforming products and other quality problems, 21
                      CFR §§820.70 et seq. and 21 CFR §§ 27 820.90 et seq.

              (k)     report on Post Approval Studies in a timely fashion, 21 CFR §§ 814.80

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                  (l)    advertise the device accurately and truthfully, 21 CFR §§ 801 et seq.

       72.        Defendants were also at all times responsible for maintaining the labeling of Essure.

Accordingly, Defendants had the ability to file a “Special PMA Supplement – Changes Being

Effected” (“CBE”) which allows Defendants to unilaterally update the labeling of Essure to reflect

newly acquired safety information without advance approval by the FDA. 21 C.F.R. § 814.39(d).

These changes include:

                  (a)    labeling changes that add or strengthen a contraindication, warning,
                         precaution, or information about an adverse reaction for which there is
                         reasonable evidence of a causal association;

                  (b)    labeling changes that add or strengthen an instruction that is intended to
                         enhance the safe use of the device;

                  (c)    labeling changes that ensure it is not misleading, false, or contains
                         unsupported indications; and

                  (d)    changes in quality controls or manufacturing process that add a new
                         specification or test method, or otherwise provide additional assurance of
                         purity, identity, strength, or reliability of the device.

       73.        Upon obtaining knowledge of these potential device failure modes, the Defendants

were required under the Essure CPMA, 21 CFR §§820.30 et seq., 21 CFR §§ 820.100 et

seq. and the FDA Recognized Consensus Standard ISO 14971 to use this information to

routinely update the risk analyses for the Essure device and take any and all Corrective Action

and Preventative Actions (“CAPA”) necessary to address non-conformance and other internal

quality control     issues. Furthermore, Defendants were required to establish Quality

Management Systems (“QMS”) procedures to assess potential causes of non-conforming

products and other quality problems with the products, such as latent manufacturing defects.

21 CFR §§ 820.70 et seq.; 21 CFR §§ 820.30 et seq.




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                                   FAILURES OF DEVICE

       74.     After obtaining the CPMA, Defendants became aware of potential quality and

failure modes associated with Essure and failed to warn Plaintiff and/or their implanting

physicians. Defendants became aware that the following failures could occur with the device and

lead to adverse consequences for the patient:

               (a)    the stainless steel used in Essure can become un-passivated, which allows
                      it to rust and degrade;

               (b)    the nitinol could have a nickel rich oxide, which the body attacks;

               (c)    the “no lead” solder could in fact have trace lead in it;

               (d)    the Galvanic action between the metals used to manufacture Essure, which
                      causes the encapsulation of the product within the fallopian tubes, could be
                      a continuous irritant to some patients;

               (e)    the nitinol in the device can degrade due to High Nickel Ion release,
                      increasing the toxicity of the product for patients;

               (f)    latent manufacturing defects, such as cracks, scratches, and other disruption
                      of the smooth surface of the metal coil, may exist in the finished product,
                      causing excess nickel to leach into the surrounding tissues             after
                      implantation;

               (g)    degradation products of PET used in the implant can be toxic to patients,
                      inciting both chronic inflammation and possible autoimmune issues and

               (h)    the mucosal immune response to nickel is different than the immune
                      response in non-mucosal areas of the body.


                      VIOLATIONS OF FEDERAL REQUIREMENTS

       75.     In June 2002, the FDA found the following objectionable conditions:

               (a)    Design outputs were not completely identified.

               (b)    Corrective and preventative action activities were not being documented,
                      including implementation of corrective and preventative actions.




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                 (c)     Procedures addressing verification of corrective preventative actions were
                         not implemented.

        76.      In July 2002, during an inspection of Defendants facility, the FDA observed that

adverse events were not captured in the data.

        77.      In June 2003, the following observations were made by the FDA which resulted in

Form 483s:

                 (a)     Two lot history records showed rejected raw materials which was not
                         documented and therefore could not be tracked.

                 (b)     Procedures were not followed for the control of products that did not
                         conform to specifications.

        78.      In July of 2002, the FDA found that:

                 (a)     Defendant “does not have an assurance/quality control unit.

        79.      In December 2010, the FDA found that Defendants were “not reporting complaints

of their product being seen radiographically in the patient’s abdominal cavity” and “did not have

a risk analysis of the coils being in the abdominal cavity.”

        80.      Defendants failed to comply with several conditions:

                 (a)     Defendants failed to timely provide the FDA with reports after twelve
                         months, eighteen months and then a final report for one schedule.
                         Defendants also failed to timely submit post approval reports for its six
                         month, one year, eighteen month and two year reports. All reports failed
                         to meet the respective deadlines.

                 (b)     Defendants failed to document successful placement of Essure concealing
                         the failure rates.

                 (c)     Defendants failed to notice the FDA of several adverse reactions and
                         actively concealed the same. Defendant failed to report 8 perforations
                         which occurred as a result of Essure and was cited for the same by the FDA
                         via Form 483.14



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  Form 483 is issued to firm management at the conclusion of inspection when an FDA investigator has observed
any conditions that violate the FD&C Act rendering the device “adulterated.”

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      (d)    Defendants failed to report to the FDA information it received that
             reasonably suggested that the device may have caused or contributed to a
             serious injury concealing the injuries. Again, Defendants failed to report 8
             perforations which occurred as a result of Essure to the FDA as evidenced
             in Form 483.

      (e)    As outlined infra, Defendants’ warranties were not truthful, accurate, and
             not misleading.

      (f)    Defendants’ warranties were not consistent with applicable Federal and
             State law.

      (g)    Defendants failed to notice the FDA of their internal excel file containing
             16,047 entries of complaints.

81.   Defendants also were found to be:

      (a)    erroneously using non-conforming material in the manufacturing of Essure
             and not tracking where it went;

      (b)    failing to use pre-sterile and post-sterile cages;

      (c)    manufacturing Essure at an unlicensed facility;

      (d)     manufacturing Essure for three years without a license to do so.

      (e)    Not reporting … complaints in which their product migrated;

      (f)    Not considering these complaints in their risk analysis for the design of
             Essure;

      (g)    Failing to document CAPA activities for a supplier corrective action;

82.   Specifically,

      (a)    On January 6, 2011, the FDA issued a violation to Defendant for the
             following: “An MDR report was not submitted within 30 days of receiving
             or otherwise becoming aware of information that reasonably suggests that
             a marketed device may have caused or contributed to a death or serious
             injury if the malfunction were to recur.” These failures included incidents
             regarding perforation of bowels, Essure coils breaking into pieces, and
             Essure coils migrating out of the fallopian tubes. Defendants were issued
             these violations for dates of incidents 9/1/10. 10/26/10, 5/11/10, 10/5/10,
             10/1/10, 11/5/10, 11/16/10, and 11/3/10.

      (b)    Defendants had notice of 168 perforations but only disclosed 22 to the FDA.

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               (c)     On January 6, 2011, Defendants were cited for their risk analysis of Essure
                       being incomplete. Specifically, the FDA found that the Design Failure
                       Modes Effects Analysis for Essure didn’t include as a potential failure mode
                       or effect, location of the micro-insert coil in the peritoneal cavity.

               (d)     On January 6, 2011, Defendants were cited for not documenting Corrective
                       and Preventive Action Activities. Specifically, the FDA found that there
                       were failures in Defendants’ Design. The FDA also found that Defendants’
                       CAPA did not mention the non-conformity of materials used in Essure or
                       certain detachment failures. The FDA found that Defendants’ engineers
                       learned of this and it was not documented.

               (e)     On July 7, 2003, Defendants were cited for not analyzing to identify existing
                       and potential causes of non-conforming product and other quality problems.
                       Specifically, two lot history records showed rejected raw material which
                       was not documented on a quality assurance form, which is used to track the
                       data. (Inner/outer coil subassemblies were rejected but then not
                       documented, leading to the question of where the rejected components
                       went) .

               (f)     On July 7, 2003, Defendants were cited for not following procedures used
                       to control products which did not confirm to specifications.

       83.     In response Defendants admitted that “the device may have caused or contributed

to a death or serious injury, and an MDR Report is required to be submitted to FDA.”

       84.     In addition, Defendants’ failure to timely file MDR’s and to report to the FDA the

complaints that were not addressed by the device’s labeling and/or complaints that were occurring

with an unexpected increase in severity and frequency, which it knew of from the more than 32,000

complaints it received, violated the CPMA, FDA post-marketing regulations, and parallel state

law.

       85.     Moreover, Defendants did not provide the requisite training to the implanting

physicians prior to selling it to the same.




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                       FDA HEARINGS AND RESULTING ACTION

          86.   The Defendants conduct not only violated its federal regulatory duties and its

duties under state law, but also caused a massive failure of information that has to be present in

the medical and scientific community to protect a patient’s interest. Because the Defendants failed

to timely, completely, or accurately report their knowledge of the risks and complications

associated with the Essure device, the public’s knowledge of the risks associated with the Essure

device were seriously hampered and delayed. This endangered patient safety, including Plaintiff’s

safety.

          87.   As the FDA continued to force Defendants to provide additional information known

to them that had been withheld, more information belatedly was made known to the medical

community, including information concerning the frequency, severity and permanence of

complications associated with the prescription and implementation of the Essure device.

          88.   This belated and untimely release of relevant and important information lead to

an increasing number of adverse events being reported to the FDA about Essure from patients

and physicians. Because of these complaints, the FDA convened a public hearing concerning the

safety and efficacy of the Essure device. At that hearing, Defendants continued to misrepresent the

safety and efficacy of Essure:

                (a)    the efficacy rates for Essure are 99.6%; in reality, studies show that the
                       chances of becoming pregnant with Essure are higher than with tubal
                       ligations and higher than the rates reported by Bayer to the FDA at the public
                       hearing;

                (b)    Defendants testified that skin patch testing is not a reliable predictor of
                       clinically significant reactions to nickel-containing implantable devices,
                       including Essure. Despite this, Bayer told physicians and patients that a
                       nickel sensitivity test was sufficient to determine whether a patient was a
                       suitable candidate for an Essure device




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              (c)    Defendants testified that “[a]s an alternative to Essure, laparoscopic tubal
                     ligation is a safe and effective method of permanent birth control.” In
                     reality, studies show that the chances of becoming pregnant with Essure are
                     higher than with tubal ligations, and Essure patients are much more likely
                     to require additional surgeries to correct complications associated with the
                     sterilization procedure.

              (d)    Defendants testified that most of the reports of adverse events to the FDA
                     have come from consumers and not Defendants, which is unusual. In
                     reality, Defendants failed to report thousands of complaints of adverse
                     events that it had received.

       89.    On February 29, 2016, the FDA first publicly announced “actions to provide

important information about the risks of using Essure and to help women and their doctors

be better informed of the potential complications associated with” the device. The FDA took the

following actions:

              (a)    The FDA is requiring a black box warning on Essure to warn doctors
                     and patients of “reported adverse events, including perforation of the
                     uterus and/or fallopian tubes, intra-abdominal or pelvic device migration,
                     persistent pain, and allergy or hypersensitivity reactions.” The FDA draft
                     guidance black box warning for Essure also warns: “Some of these
                     reported events resulted in device removal that required abdominal
                     surgery. This information should be shared with patients considering
                     sterilization with the Essure® device during discussion of the benefits and
                     risks of the device.”

              (b)    The FDA is requiring Defendants to implement a Patient Decision
                     Checklist “to help to ensure women receive and understand information
                     regarding the benefits and risks” of Essure. The FDA’s draft Patient
                     Decision Checklist is a five-page document that the physician will discuss
                     with each patient interested in using the device. The patient must initial after
                     each topic of discussion, and both the physician and patient must sign the
                     document. The topics for discussion include, inter alia, the risks for “adverse
                     events including persistent pain, device puncture of the uterus and/or
                     fallopian tubes (‘perforation’), or movement of the device into the abdomen
                     or pelvis (‘intra-peritoneal migration’)”; “allergy or hypersensitivity
                     reactions”; symptoms such as changes in skin (rash, itching), “chest
                     pain, palpitations, breathing difficulties or wheezing, and intestinal
                     discomfort such as nausea, diarrhea, and vomiting”; “joint or muscle pain,
                     muscle weakness, excessive fatigue, hair loss, weight changes, and mood
                     changes”; the fact that “there is no reliable test to predict ahead of time who
                     may develop a reaction to the device”; the possibility that the Essure device

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                       “can move after placement,” possibly becoming ineffective at preventing
                       pregnancy or leading to “serious adverse events such as bleeding or bowel
                       damage, which may require surgery to address”; and the fact that if the
                       Essure device has to be removed after placement, it will require surgery to
                       remove and possibly a hysterectomy.

                (c)    The FDA has also ordered Bayer “to conduct a new postmarket surveillance
                       study designed to provide important information about the risks of the
                       device in a real-world environment.” The study must provide data on “the
                       risks associated with Essure® and compare them to laparoscopic tubal
                       ligation. This includes the rates of complications including unplanned
                       pregnancy, pelvic pain and other symptoms, and surgery to remove the
                       Essure® device. The study will also evaluate how much these complications
                       affect a patient’s quality of life. . . .The FDA will use the results of this study
                       to determine what, if any, further actions related to Essure® are needed to
                       protect public health.”

       90.      Unfortunately, this new warning, labeling, and patient decision checklist came too

late to warn Plaintiff of the true risks of Essure. Had the Defendants complied with their federal

regulatory duties and their duties under state law by reporting the known risks and complications in

a timely fashion, the Plaintiff and their physicians would have had this relevant, critical information

available to them prior to the implant of the Essure device. At all relevant times, Defendants’

Essure product was prescribed and used as intended by Defendants and in a manner reasonably

foreseeable to Defendants. Moreover, Defendants misrepresentations regarding Essure discussed

infra, in effect, over promoted Essure and nullified otherwise adequate warnings.

       91.      Lastly, although Essure appears at first glance to be a “medical device,” Defendants

actually categorize it as a “drug.”

       92.      In short, (1) Essure is considered an “adulterated” and “misbranded” product that

could not have been marketed or sold to Plaintiff per the FDA and Federal law and (2) all of

Plaintiff’s claims center around violations of the CPMA requirements and/or Federal regulations

and statutes.




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                     DEFENDANTS’ TRAINING AND DISTRIBUTION PLAN

       93.     Defendants (1) failed to abide by FDA-Approved training guidelines when training

Plaintiff’s implanting physicians; (2) provided specialized hysteroscopic equipment to the

implanting physicians who was not qualified or competent to use the same; and (3) created an

unreasonably dangerous distribution plan, all of which were aimed at capitalizing on and

monopolizing the birth control market at the expense of Plaintiff’s safety and well-being.

       94.     Because Essure was the first device of its kind, the implanting physicians was

trained by Defendants on how to properly insert the micro-inserts using the disposable delivery

system and was given hysteroscopic equipment by Defendants.

       95.     In order to capture the market, Defendants independently undertook a duty of

training physicians outside of FDA guidelines, including the implanting physicians, on how to

properly use (1) its own mechanism of delivery and (2) the specialized hysteroscopic equipment

manufactured by a third party.

       96.     Regarding Essure, Defendants’ Senior Director of Global Professional Education,

stated, “training is the key factor when clinicians choose a new procedure” and “For the Essure

procedure, the patient is not under anesthesia, therefore a skilled approach is crucial.”

       97.     In fact, because gynecologists and Plaintiff’s implanting physicians were

unfamiliar with the device and how to deliver it, Defendants (1) created a “Physician Training

Manual”; (2) created a simulator called EssureSim; (3) organized limited training courses-where

Defendants observed physicians until Defendants believed they were competent; (4) created

Essure Procedure Equipment Supplies Checklists; and (5) represented to Plaintiff that “Physicians

must be signed-off to perform Essure procedures.”




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        98.     Defendants provided no training to the implanting physicians on how to remove

Essure should it fail.

        99.     Defendants also kept training records on all physicians “signed-off to perform

Essure procedures.”

        100.    In order to sell its product and because the implanting physicians did not have

access to the expensive hysteroscopic equipment, Defendants provided the implanting physicians

with hysteroscopic equipment which, although is not a part of Essure, is needed to implant Essure.

The entrustment of this equipment is not part of any CPMA.

        101.    In fact, Defendants entered into agreements with Johnson & Johnson Co., Olympus

America, Inc., Richard Wolf Medical Instruments Corp., and Karl Storz Endoscopy, America, Inc.

(1) to obtain specialized hysteroscopic equipment to then give to physicians and (2) to increase its

sales force to promote Essure.

        102.    According to Defendants, these agreements allowed Defendants to “gain market

presence…and expand … market opportunity by driving adoption among a group of physicians.”

        103.    In regard to the entrustment of such specialized equipment, Defendants admitted:

“We cannot be certain how successful these programs will be, if at all.” See US SEC Form 10-Q:

Quarterly Report Pursuant to Section 13 or 15(d)of the SEC Act of 1934.

        104.      Defendants “handed out” this hysteroscopic equipment to unqualified physicians,

including Plaintiff’s implanting physicians, in an effort to sell its product.

        105.    Defendants knew or failed to recognize that the implanting physicians were not

qualified to use such specialized equipment yet provided the equipment to the unqualified

implanting physician in order to capture the market.




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       106.    In return for providing the expensive hysteroscopic equipment, Defendants

required that the implanting physicians purchase two Essure “kits” per month. This was a part of

Defendants’ unreasonably dangerous and negligent distribution plan aimed solely at capturing the

market with reckless disregard for the safety of the public and Plaintiff.

       107.    Defendants’ distribution plan included requiring the implanting physicians to

purchase two (2) Essure “kits” per month, regardless of whether they were used or not. This

distribution plan created an environment which induced the implanting physicians to “push”

Essure and implant the same into Plaintiff.

       108.     In short, Defendants used the expensive hysteroscopic equipment to induce the

implanting physicians into an agreement as “bait.” Once the implanting physicians “took the bait”

they were required to purchase two (2) Essure “kits” per month, regardless of whether they sold

any Essure “kits”.

       109.    This was an unreasonably dangerous distribution scheme as it compelled the

implanting physicians to sell two (2) devices per month at the expense of Plaintiff’s safety and

well-being.

       110.    Defendant’s distribution plan also included (1) negligently distributing Essure in

violation of FDA orders and Federal regulations; (2) marketing and selling an “adulterated” and

“misbranded” product; (3) promoting Essure through representatives of the hysteroscopic

equipment manufacturers, who were not adequately trained nor had sufficient knowledge

regarding Essure; (4) failing to report and actively concealing adverse events which occurred as a

result of Essure; (5) erroneously using non-conforming material and failing to keep track of the

same in the manufacturing of Essure; (6) failing to use pre-sterile and post-sterile cages; (7)




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manufacturing Essure at an unlicensed facility and (8) manufacturing Essure for three years

without a license to do so.

       111.    In short, Defendants (1) failed to abide by FDA-Approved training guidelines when

training Plaintiff’s implanting physicians; (2) provided specialized hysteroscopic equipment to

implanting physicians who were not qualified to use the same; and (3) created an unreasonably

dangerous distribution and reporting plan aimed at capitalizing and monopolizing the birth control

market.

       112.    All of this was done in violation of Federal law and its CPMA. Unfortunately, this

was done at the expense of Plaintiff’s safety.

                                       PLAINTIFF’S HISTORY

       113.    Plaintiff Zenaida Talavera is a resident of California. She was implanted with

Essure on or about the year 2016. As a result of Essure, Plaintiff suffered from severe and

permanent injuries, including, inter alia, pain and suffering and emotional distress.

           FRAUDULENT CONCEALMENT/DISCOVERY RULE/EQUITABLE
                      TOLLING/EQUITABLE ESTOPPEL

SUMMARY OF ACTIVE CONCEALMENT


       114.    First, Defendants’ fraudulent acts and/or omissions discussed below, before, during

and/or after the acts causing Plaintiff’s injuries, prevented Plaintiff and/or Plaintiff’s physicians

from discovering the injuries or causes thereof as alleged in this complaint until Spring, 2018.

       115.    Second, Defendants’ failure to report, document, or follow up on the known adverse

event complaints, and concealment and altering of adverse events, serious increased risks, dangers,

and complications, constitutes fraudulent concealment that tolls Plaintiff’s statute of limitations.




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       116.    Third, and in the alternative, Defendants are also estopped from relying on any

statute of limitations defense because it continued to refute and deny reports and studies

questioning the safety of Essure, actively and intentionally concealed the defects and adverse

events, suppressed reports and adverse information, sponsored and paid for studies which falsely

characterized the risks and benefits of Essure, and failed to disclose known dangerous defects and

serious increased risks and complications to the FDA, physicians and the Plaintiff. As a result of

Defendants’ concealment of the true character, quality, history, and nature of their product, they

are estopped from relying on any statute of limitations defense.

       117.    Defendants furthered their fraudulent concealment through act and omission,

including misrepresenting known dangers and/or defects in Essure and/or arising out of the use of

Essure and a continued and intentional, systematic failure to disclose and/or conceal such

information from/to the Plaintiff, Plaintiff’s physicians, and the FDA.

       118.    In short, Defendants:

               (a)    Actively and intentionally concealed from Plaintiff that their physicians

                      were not trained pursuant to the FDA-approved training noted infra.

               (b)    Actively and intentionally concealed the defects and adverse events,

                      suppressed reports and adverse information, sponsored and paid for studies

                      which falsely characterized the risks and benefits of Essure, and failed to

                      disclose known dangerous defects and serious increased risks and

                      complications to the FDA, physicians and the Plaintiff.

               (c)    Actively and intentionally concealed from Plaintiff and Plaintiff’s

                      physician’s risks by making the misrepresentations/warranties noted infra

                      knowing they were false. In short, Defendants knew the misrepresentations



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                       were false because they had studies and reports which showed the opposite

                       yet altered and concealed the same from Plaintiff, the FDA and Plaintiff’s

                       physicians. Defendants made the misrepresentations with the intent of

                       misleading Plaintiff into relying on them because they had studies and

                       reports which showed the opposite yet decided to conceal the same

                       (collectively “the acts and omissions”)

       119.    If Defendants had met their duties under the above mentioned federal and parallel

state laws, the FDA would have had the information necessary to warn the public, including

Plaintiff and Plaintiff’s physicians of the increased risks and serious dangers associated with

Essure in time to have lessened or prevented Plaintiff’s injuries, which is evidenced by the fact

that the FDA is now mandating a new clinical trial, a “black box” warning, and a “patient decision

checklist” which discuss and warn in detail, the risks of the very same injuries Plaintiff suffered

and Defendants concealed and altered. Had Defendants satisfied their obligations, these FDA

mandates would have been plausible prior to Plaintiff’s implantation.           As discussed infra,

Defendants continued to misrepresent the safety and efficacy of Essure at the FDA Hearings.

       120.    In short, Defendants manipulated its reports to the FDA and presented false and

misleading information, which, in turn, caused or contributed to Plaintiff’s consent not being

informed as critical facts regarding the nature and quality of side effects from Essure were

concealed from Plaintiff and their physicians.

       121.    Defendants did this in an effort to maintain the impression that the Essure device

had a positive risk/benefit profile, to guard sales, and to ensure that Plaintiff and their physicians

did not have the salient facts in order to bring the claims alleged in this amended complaint.




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          122.    Defendants’ conduct was malicious, intentional, and outrageous, and constitutes a

willful and wanton disregard for the rights and safety of Plaintiff and others.

FDA CALLS ESSURE MEETING

          123.    The FDA convened a meeting of the Obstetrics and Gynecology Devices Panel of

the Medical Devices Advisory Committee to hear concerns from experts and plan

recommendations for the Essure device.

          124.    In April, 2018 the FDA first announced that it would force a major change to the

Essure warning label and also require all women considering Essure, and their implanting

physicians, fill out a “Patient Decision Checklist,” or Risk Acknowledgement Form, to ensure that

they are fully informed of the true risks. 15

          125.    The FDA stated that such warnings are needed for a woman to understand the risks

as compared to alternative options and then decide whether the product is right for her. 16

          126.    The new warning and checklist changed the risk/benefit profile of Essure for

Plaintiff and gave rise to new salient facts which Plaintiff and her physicians did not and could not

have had prior to Spring, 2018.

          127.    This patient decision checklist requires a patient’s signature and doctor’s signature,

recognizing new risks previously not disclosed.

          128.    Finally, women considering the device will have the chance to be fully informed of

its true risks.

          129.    This result is why Defendants withheld and actively concealed safety information

from the FDA and the public for years.




15
     See http://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm488313.htm.
16
     Id.

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           130.   Upon information and belief, Defendants knew that if the true risks of Essure were

known to the FDA, then they should or would inevitably be communicated to physicians and

Plaintiff.

           131.   The checklist specifically warns of device migration, perforation of organs, and

new side effects that Defendants had been cited for hiding from the FDA, Plaintiff, and Plaintiff’s

physicians and/or enhances the sufficiency of the same.

           132.   The checklist enhances the sufficiency of the warnings given to potential Essure

patients and completely alters the process of undergoing the procedure.

           133.   The checklist has a major impact on the risk/benefit profile of the device, and

Plaintiff would not have had the device implanted with it in place.

           134.   On February 29, 2016, the FDA announced that it would require a detailed boxed

warning for the Essure device. The FDA reserves boxed warnings, commonly referred to as "black

box warnings," for only the most serious adverse events. Boxed warnings indicate the highest level

of risk.

           135.   The FDA suggested the following warning:

                  WARNING: Some patients implanted with the Essure System for Permanent
                  Birth Control have reported adverse events, including perforation of the
                  uterus and/or fallopian tubes, intra-abdominal or pelvic device migration,
                  persistent pain, and allergy or hypersensitivity reactions. Some of these
                  reported events resulted in device removal that required abdominal surgery.
                  This information should be shared with patients considering sterilization with
                  the Essure device during discussion of the benefits and risks of the device. 17


           136.   This boxed warning directly addresses side effects that Defendants had been cited

for hiding from the FDA and the public for years.



17
  FDA Draft Guidance on Labeling for Permanent Hysteroscopically-Placed Tubal Implants Intended for
Sterilization, issued March 4, 2016

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DISCOVERY RULE- TOLLING

        137.   Plaintiff did not know of the claims and their underlying facts asserted in this

amended complaint, nor could any reasonable prudent person know of such claims until Spring,

2018.

        138.   Plaintiff did not possess the sufficient critical facts to put her on notice that the

wrongs and the acts and omissions had been committed until such date. This is because it was not

until an FDA hearing that Essure’s safety and Defendants’ acts and omissions were publicly called

into question by the FDA and the medical community and the FDA required the “black box

warning,” “patient decision checklist,” and “new clinical trials.”

        139.   In fact, no reasonable person in Plaintiff’s position would have been aware of the

salient facts of this complaint until after Spring, 2018.

        140.   Plaintiff did not have the opportunity to discover the harm inflicted because

Defendants were and are continuing to conceal the acts and omissions noted above.

        141.   At all times material hereto, Plaintiff exercised reasonable diligence in

investigating potential causes of her injury by discussing her injuries with healthcare providers.

None of the conversations gave Plaintiff a reason to suspect, or reasonably should have given

Plaintiff a reason to suspect that Essure or Defendants’ tortious conduct in this complaint was the

cause of such injuries until Spring, 2018.

        142.   Regardless of the exercise of reasonable diligence, Plaintiff did not know or

reasonably should not have known that she suffered injury and that her injury had been caused by

Defendants’ conduct in this complaint until Spring, 2018.

        143.   Plaintiff neither suspected nor knew of Defendants’ wrongdoings as alleged in this

complaint until Spring, 2018.



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        144.   In sum, Plaintiff were reasonably unaware, and had no reasonable way of knowing,

that their injuries described above were caused by Defendants’ conduct as alleged in this complaint

until Spring, 2018.

        145.   As such, Plaintiff’s statute of limitations did not begin to run until Spring, 2018.

FRUADULENT CONCEALMENT- EQUITABLE TOLLING

        146.   Defendants committed affirmative independent acts of concealment (including the

acts and omissions) and intentionally mislead Plaintiff as noted above upon which Plaintiff and

Plaintiff’s physicians relied on.

        147.   The acts and omissions misled Plaintiff in regard to their causes of action and

prevented them from asserting such rights because the facts which would support their causes of

action as alleged in this complaint were not apparent to a reasonably prudent person until Spring,

2018.

        148.   Defendants also prevented Plaintiff from asserting their rights in this complaint by

committing affirmative independent acts of concealment as noted above upon which Plaintiff

relied on.

        149.   Due to the acts and omissions of concealment, Plaintiff were not cognizant of the

facts supporting their causes of action in this complaint until Spring, 2018.

        150.   As such, Plaintiff’s statute of limitations were tolled in light of Defendants’

fraudulent concealment and their statute began to run starting from the date that facts supporting

their causes of action in this complaint became apparent or Spring, 2018.

        151.   Defendants’ misconduct and fraudulent concealment of the relevant facts deprived

Plaintiff and their physicians of vital information essential to the pursuit of the claims in this

complaint, without any fault or lack of diligence on their part. Plaintiff relied on Defendants’



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misrepresentations and omissions and therefore could not reasonably have known or become

aware of facts that would lead a reasonable, prudent person to make an inquiry to discover

Defendants’ tortious conduct.

EQUITABLE ESTOPPEL

       152.    In the alternative, Defendants are estopped and may not invoke the statute of

limitations as through the fraud or concealment noted above, specifically the acts and omissions,

Defendants caused the Plaintiff to relax her vigilance and/or deviate from her right of inquiry into

the facts as alleged in this complaint.

       153.    Defendants affirmatively induced Plaintiff to delay bringing this complaint by the

acts and omissions.

       154.    In addition to acts and omissions noted above, Defendants consistently represented

to Plaintiff and/or Plaintiff’s physicians that Essure was not the cause of any of Plaintiff’s injuries

to delay her bringing this complaint.

       155.    Defendants are and were under a continuing duty to monitor and disclose the true

character, quality, and nature of Essure. Because of Defendants’ misconduct and fraudulent

concealment of the true character, quality, and nature of its device, Defendants are estopped from

relying on any statute of limitations defense.

                                  FACTS AND WARRANTIES

       156.    First, Defendants failed to abide by FDA-Approved training guidelines when

training Plaintiff’s implanting physicians, including the implanting physicians, on how to use its

device and in hysteroscopy.

       157.    The skills needed to place the micro-inserts as recognized by the FDA panel in the

PMA process “are way beyond the usual gynecologist.”



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        158.     Accordingly, Defendants went out and attempted to train the implanting physicians

on (1) how to use its device and (2) in hysteroscopy. Defendants (1) created a “Physician Training

Manual”; (2) created a simulator called EssureSim; (3) organized limited training courses-where

Defendants observed physicians until Defendants believed they were competent; (4) created

Essure Procedure Equipment Supplies Checklists; and (5) represented to Plaintiff that “Physicians

must be signed-off to perform Essure procedures.” Defendants had no experience in training

others in hysteroscopy.

        159.     Defendants failed to abide by FDA-Approved training guidelines when training

Plaintiff’s implanting physicians and provided hysteroscopic equipment to the implanting

physicians who was not qualified to use such complicated equipment.

        160.     A key study found that a learning curve for this hysteroscopic procedure was seen

for procedure time, but not for successful placement, pain, and complication rates, evidencing that

Defendants’ training methods were failing18.

        161.     Second, Defendants provided hysteroscopic equipment to the implanting

physicians who was not competent to use such device.                      Defendants knew the implanting

physicians was not competent to use such sophisticated equipment yet provided the equipment

anyway in order to sell its product.

        162.     Third, Defendants’ distribution plan of requiring the implanting physicians to

purchase two (2) Essure kits a month, was an unreasonably dangerous plan as it compelled the

implanting physicians to insist that Essure be used in Plaintiff.

        163.     Defendants’ distribution plan also included (1) negligently distributing an

“adulterated” and “misbranded” device against its CPMA and Federal law; (2) the promotion of


18
  Learning curve of hysteroscopic placement of tubal sterilization micro inserts, US National Library of Medicine,
Janse, JA.

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Essure through representatives of the hysteroscopic equipment manufacturers, who were not

adequately trained nor had sufficient knowledge regarding Essure; (3) failing to report and actively

concealing perforations which occurred as a result of Essure; (4) erroneously using non-

conforming material in the manufacturing of Essure and failing to keep track of the non-

conforming material; (5) failing to use pre-sterile and post-sterile cages; (6) manufacturing Essure

at an unlicensed facility and (7) manufacturing Essure for three years without a license to do so.

        164.    Lastly, Plaintiff relied on several warranties which were given directly by

Defendants to Plaintiff, prior to implantation, on the internet and in the implanting physicians’

office, through Defendant’s website and advertising, as outlined in detail infra.

                                  NEGLIGENT TRAINING – COUNT I

        165.    Plaintiff re-alleges and re-incorporates the preceding Paragraphs.

        166.    First, Defendants undertook an independent duty to train physicians on how to

properly use its device to place the micro-inserts which failed to abide by FDA training guidelines.

        167.    In fact, Defendants (1) created an Essure Training Program; (2) created a simulator

called EssureSim; (3) organized limited training courses-where Defendants observed physicians

until Defendants believed they were competent; (4) created Essure Procedure Equipment Supplies

Checklists; and (5) represented to Plaintiff that “Physicians must be signed-off to perform Essure

procedures.”

        168.    As part of Defendants’ training: Defendants had a duty to abide by the FDA

training guidelines for the implanting physicians on how to place Essure using its own delivery

system, certify the implanting physicians, and oversee this particular procedure. Defendants also

had a duty to disclose adverse events to the physicians so that they in turn could properly advise

their patients of the actual risks.



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       169.     Specifically, pursuant to the FDA-approved training regulations and guidelines,

Defendants had a duty to comply with the following Federal requirements so that implanting

physicians performed “competent procedures” and would be able to “manage possible technical

issues”:

                (a)    Ensure that the implanting physicians completed the required preceptoring
                       (generally 5 cases) in Essure placement until competency;

                (b)    Ensure that the implanting physicians had read and understood the
                       Physician Training Manual;

                (c)    Ensure that the implanting physicians had “successful completion of
                       Essure Simulator Training”;

       170.     As outlined in the Physicians Manual these requirements were necessary in order

to:

                (a)    Ensure that the implanting physicians were selecting appropriate patients
                       from Essure;

                (b)    Ensure that the implanting physicians were appropriately counseling
                       Plaintiff on the known risks; and

                (c)    Ensure the implanting physicians were qualified and competent to perform
                       the Essure procedure to ensure proper placement to preclude migration,
                       perforation and fracturing of coils.

       171.     Defendants breached this duty and parallel state law thereby departing from the

FDA-approved guidelines by:


                (a)    Not ensuring that the implanting physicians completed the required
                       preceptoring in Essure placement until competency. The implanting
                       physicians did not complete the required preceptoring until competency
                       requirement;

                (b)    Not ensuring that the implanting physicians had read and understood the
                       Physician Training Manual; The Implanting Physicians did not understand
                       the Physician Training Manual.




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               (c)     Not ensuring that the implanting physicians had “successful completion of
                       Essure Simulator Training”; The implanting physicians did not
                       successfully complete the Essure Simulator Training.


       172.    This departure from the training guidelines caused the Essure coils to

migrate/fracture and/or perforate organs because:

               (a)     The Essure Training Program ensured proper placement and without it, the
                       Implanting Physicians’ technique caused the coils to migrate, perforate,
                       and/or fracture producing the damages noted above;

               (b)     The required preceptoring ensured proper placement and without it, the
                       Implanting Physicians’ technique caused the coils to migrate, perforate,
                       and/or fracture producing the damages noted above;

               (c)     The requirement to read and understand the Physician Training Manual
                       ensured proper placement, and without it, the Implanting Physicians’
                       technique caused the coils to migrate, perforate, and/or fracture producing
                       the damages noted above;

       173.    This breach caused Plaintiff’s damages noted above.

       174.    As a result of Defendants’ negligence individually, jointly, and severally, Plaintiff

sustained the injuries and exacerbations noted above.

       175.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

had to undergo numerous surgical procedures, diagnostic procedures, and may have to undergo

surgeries, diagnostic testing, treatment and rehabilitation into the indefinite future.

       176.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

sustained significant pain and suffering, permanent injuries, both physical and mental, and will

continue to do so into the indefinite future.

       177.    Plaintiff has been forced to expend significant sums of money for treatment of the

multitude of surgeries, testing, medicine, therapies along with related expenses, all to their




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significant financial detriment and loss, and they may have to endure significant financial

expenditures into the foreseeable future.

        178.    Plaintiff has suffered a significant decrease in her ability to earn money in the

future, as well as a significant loss of earning capacity.

        WHEREFORE, for the above reasons, Plaintiff demands judgment in her favor and against

the Defendants for an amount in excess of $50,000.00 each, compensatory, punitive damages,

incidental, consequential, including pain and suffering which was a foreseeable consequential

damages, delay damages, attorney’s fees and costs of suit in an amount to be determined upon the

trial of this matter.

                        NEGLIGENCE- RISK MANAGEMENT– COUNT II

        179.    Plaintiff re-alleges and re-incorporates the preceding Paragraphs.

        180.    In short, Defendants had a duty under both state and Federal law to have in place a

reasonable risk management procedure to ensure, inter alia, (1) that adverse reports were being

reported to the FDA so that it could be relayed to the implanting physicians and/or Plaintiff; (2)

that adverse reports were considered in its risk analysis and that the risk analysis was updated to

reflect the same so that it could be relayed to the implanting physicians and/or Plaintiff; (3) that

they investigate information about the risks Essure posed so that it could be relayed to the

implanting physicians and/or Plaintiff; (4) that the continued sale of Essure was appropriate and

reasonable despite the information being withheld to the public by Defendants (5) monitor the

product after pre-market approval and to discover and report to the FDA any complaints about

the product's performance and any adverse health consequences of which it became aware and that

are or may be attributable to the product, 21 CFR §§ 814 et seq.;(6) establish internal procedures

for reviewing complaints and event reports, 21 CFR §§ 820.198, §§ 820.100 et seq. and §§ 820.20



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et seq.; and (7) maintain the labeling of Essure by filing a “Special PMA Supplement – Changes

Being Effected” (“CBE”) which allows Defendants to unilaterally update the labeling of Essure to

reflect newly acquired safety information without advance approval by the FDA. 21 C.F.R. §

814.39(d).

       181.   Specifically, Defendants had a duty to comply with the following Federal

regulations but breached the same regulations by the subsequent violations noted directly below

(which Defendants were cited for by the FDA):

              (a)    21 C.F.R. 814.80-A device may not be manufactured, packaged, stored,
                    labeled, distributed, or advertised in a manner that is inconsistent with a
                    conditions of approval specified in the PMA approval order for the device.

                    (Defendants were cited for and breached this federal standard by failing to
                    disclose, consider, and include in their risk management plans thousands of
                    adverse events and complaints for migrations, perforations, pregnancies,
                    device failures and malfunctions, and the safety of loose coils, which in turn
                    were never disclosed to Plaintiff and Implanting Physicians. This failing to
                    disclose and include in their risk management analysis was a condition of
                    approval in its CPMA)

              (b) 21 C.F.R. 803.1(a)- This part establishes the requirements for medical device
                  reporting for device user facilities, manufacturers, importers, and distributors.
                  If you are a device user facility, you must report deaths and serious injuries
                  that a device has or may have caused or contributed to, establish and maintain
                  adverse event files, and submit summary annual reports. If you are a
                  manufacturer or importer, you must report deaths and serious injuries that your
                  device has or may have caused or contributed to, you must report certain device
                  malfunctions, and you must establish and maintain adverse event files. If you
                  are a manufacturer, you must also submit specified follow-up. These reports
                  help us to protect the public health by helping to ensure that devices are not
                  adulterated or misbranded and are safe and effective for their intended use.

                    (Defendants were cited for and breached this federal standard by failing to
                    disclose, consider, and include in their risk management plans thousands of
                    adverse events and complaints for migrations, perforations, pregnancies,
                    device failures and malfunctions, and the safety of loose coils, which in turn
                    were never disclosed to Plaintiff and Implanting Physicians.)

               (c) 21 C.F.R. 803.10- (a) If you are a device user facility, you must submit reports
                   (described in subpart C of this part), as follows: (1) Submit reports of

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           individual adverse events no later than 10 work days after the day that you
           become aware of a reportable event :(i) Submit reports of device-related deaths
           to us and to the manufacturer, if known; or (ii) Submit reports of device-related
           serious injuries to the manufacturers or, if the manufacturer is unknown,
           submit reports to us.(2) Submit annual reports (described in 803.33) to us.(b)
           If you are an importer, you must submit reports (described in subpart D of this
           part), as follows:(1) Submit reports of individual adverse events no later than
           30 calendar days after the day that you become aware of a reportable event:(i)
           Submit reports of device-related deaths or serious injuries to us and to the
           manufacturer; or(ii) Submit reports of device-related malfunctions to the
           manufacturer.(2) [Reserved](c) If you are a manufacturer, you must submit
           reports (described in subpart E of this part) to us, as follows:(1) Submit reports
           of individual adverse events no later than 30 calendar days after the day that
           you become aware of a reportable death, serious injury, or malfunction.(2)
           Submit reports of individual adverse events no later than 5 work days after the
           day that you become aware of:(i) A reportable event that requires remedial
           action to prevent an unreasonable risk of substantial harm to the public health,
           or(ii) A reportable event for which we made a written request.(3) Submit
           supplemental reports if you obtain information that you did not submit in an
           initial report.

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (d)    21 C.F.R. 803.50(a)- (a) If you are a manufacturer, you must report to us no
           later than 30 calendar days after the day that you receive or otherwise become
           aware of information, from any source, that reasonably suggests that a device
           that you market:(1) May have caused or contributed to a death or serious
           injury; or(2) Has malfunctioned and this device or a similar device that you
           market would be likely to cause or contribute to a death or serious injury, if
           the malfunction were to recur.(b) What information does FDA consider
           "reasonably known" to me?(1) You must submit all information required in
           this subpart E that is reasonably known to you. We consider the following
           information to be reasonably known to you:(i) Any information that you can
           obtain by contacting a user facility, importer, or other initial reporter;(ii) Any
           information in your possession; or (iii) Any information that you can obtain by
           analysis, testing, or other evaluation of the device.(2) You are responsible for
           obtaining and submitting to us information that is incomplete or missing from
           reports submitted by user facilities, importers, and other initial reporters.(3)
           You are also responsible for conducting an investigation of each event and
           evaluating the cause of the event. If you cannot submit complete information
           on a report, you must provide a statement explaining why this information was
           incomplete and the steps you took to obtain the information. If you later obtain

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           any required information that was not available at the time you filed your initial
           report, you must submit this information in a supplemental report under
           803.56.

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (e)    21 C.F.R. 803.53- You must submit a 5-day report to us, on Form 3500A or
           an electronic equivalent approved under 803.14, no later than 5 work days after
           the day that you become aware that:(a) An MDR reportable event necessitates
           remedial action to prevent an unreasonable risk of substantial harm to the
           public health. You may become aware of the need for remedial action from
           any information, including any trend analysis; or(b) We have made a written
           request for the submission of a 5-day report. If you receive such a written
           request from us, you must submit, without further requests, a 5-day report for
           all subsequent events of the same nature that involve substantially similar
           devices for the time period specified in the written request. We may extend the
           time period stated in the original written request if we determine it is in the
           interest of the public health.

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (f)    21 C.F.R. 806.10- (a) Each device manufacturer or importer shall submit a
           written report to FDA of any correction or removal of a device initiated by
           such manufacturer or importer if the correction or removal was initiated:(1) To
           reduce a risk to health posed by the device; or(2) To remedy a violation of the
           act caused by the device which may present a risk to health unless the
           information has already been provided as set forth in paragraph (f) of this
           section or the corrective or removal action is exempt from the reporting
           requirements under 806.1(b).(b) The manufacturer or importer shall submit
           any report required by paragraph (a) of this section within 10-working days of
           initiating such correction or removal.(c) The manufacturer or importer shall
           include the following information in the report:(1) The seven digit registration
           number of the entity responsible for submission of the report of corrective or
           removal action (if applicable), the month, day, and year that the report is made,
           and a sequence number (i.e., 001 for the first report, 002 for the second report,
           003 etc.), and the report type designation "C" or "R". For example, the
           complete number for the first correction report submitted on June 1, 1997, will
           appear as follows for a firm with the registration number 1234567: 1234567-

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        6/1/97-001-C. The second correction report number submitted by the same
        firm on July 1, 1997, would be 1234567-7/1/97-002-C etc. For removals, the
        number will appear as follows: 1234567-6/1/97-001-R and 1234567-7/1/97-
        002-R, etc. Firms that do not have a seven digit registration number may use
        seven zeros followed by the month, date, year, and sequence number (i.e.
        0000000-6/1/97-001-C for corrections and 0000000-7/1/97-001-R for
        removals). Reports received without a seven digit registration number will be
        assigned a seven digit central file number by the district office reviewing the
        reports.(2) The name, address, and telephone number of the manufacturer or
        importer, and the name, title, address, and telephone number of the
        manufacturer or importer representative responsible for conducting the device
        correction or removal.(3) The brand name and the common name,
        classification name, or usual name of the device and the intended use of the
        device.(4) Marketing status of the device, i.e., any applicable premarket
        notification number, premarket approval number, or indication that the device
        is a pre-amendments device, and the device listing number. A manufacturer or
        importer that does not have an FDA establishment registration number shall
        indicate in the report whether it has ever registered with FDA.(5) The unique
        device identifier (UDI) that appears on the device label or on the device
        package, or the device identifier, universal product code (UPC), model,
        catalog, or code number of the device and the manufacturing lot or serial
        number of the device or other identification number.(6) The manufacturer's
        name, address, telephone number, and contact person if different from that of
        the person submitting the report.(7) A description of the event(s) giving rise to
        the information reported and the corrective or removal actions that have been,
        and are expected to be taken.(8) Any illness or injuries that have occurred with
        use of the device. If applicable, include the medical device report numbers.(9)
        The total number of devices manufactured or distributed subject to the
        correction or removal and the number in the same batch, lot, or equivalent unit
        of production subject to the correction or removal.(10) The date of
        manufacture or distribution and the device's expiration date or expected
        life.(11) The names, addresses, and telephone numbers of all domestic and
        foreign consignees of the device and the dates and number of devices
        distributed to each such consignee.(12) A copy of all communications
        regarding the correction or removal and the names and addresses of all
        recipients of the communications not provided in accordance with paragraph
        (c)(11) of this section.(13) If any required information is not immediately
        available, a statement as to why it is not available and when it will be
        submitted.(d) If, after submitting a report under this part, a manufacturer or
        importer determines that the same correction or removal should be extended
        to additional lots or batches of the same device, the manufacturer or importer
        shall within 10-working days of initiating the extension of the correction or
        removal, amend the report by submitting an amendment citing the original
        report number assigned according to paragraph (c)(1) of this section, all of the
        information required by paragraph (c)(2), and any information required by
        paragraphs (c)(3) through (c)(12) of this section that is different from the

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         information submitted in the original report. The manufacturer or importer
         shall also provide a statement in accordance with paragraph (c)(13) of this
         section for any required information that is not readily available.(e) A report
         submitted by a manufacturer or importer under this section (and any release by
         FDA of that report or information) does not necessarily reflect a conclusion by
         the manufacturer, importer, or FDA that the report or information constitutes
         an admission that the device caused or contributed to a death or serious injury.
         A manufacturer or importer need not admit, and may deny, that the report or
         information submitted under this section constitutes an admission that the
         device caused or contributed to a death or serious injury.(f) No report of
         correction or removal is required under this part, if a report of the correction
         or removal is required and has been submitted under parts 803 or 1004 of this
         chapter.[62 FR 27191, May 19, 1997, as amended at 63 FR 42232, Aug. 7,
         1998; 69 FR 11311, Mar. 10, 2004; 78 FR 55821, Sept. 24, 2013]

         (Defendants were cited for and breached this federal standard by failing to
         disclose, consider, and include in their risk management plans thousands of
         adverse events and complaints for migrations, perforations, pregnancies,
         device failures and malfunctions, and the safety of loose coils, which in turn
         were never disclosed to Plaintiff and Implanting Physicians.)

     (g) 21 C.F.R. 814.84-(a) The holder of an approved PMA shall comply with the
         requirements of part 803 and with any other requirements applicable to the
         device by other regulations in this subchapter or by order approving the
         device.(b) Unless FDA specifies otherwise, any periodic report shall:(1)
         Identify changes described in 814.39(a) and changes required to be reported to
         FDA under 814.39(b).(2) Contain a summary and bibliography of the
         following information not previously submitted as part of the PMA:(i)
         Unpublished reports of data from any clinical investigations or nonclinical
         laboratory studies involving the device or related devices and known to or that
         reasonably should be known to the applicant.(ii) Reports in the scientific
         literature concerning the device and known to or that reasonably should be
         known to the applicant. If, after reviewing the summary and bibliography,
         FDA concludes that the agency needs a copy of the unpublished or published
         reports, FDA will notify the applicant that copies of such reports shall be
         submitted.(3) Identify changes made pursuant to an exception or alternative
         granted under 801.128 or 809.11 of this chapter.(4) Identify each device
         identifier currently in use for the device, and each device identifier for the
         device that has been discontinued since the previous periodic report. It is not
         necessary to identify any device identifier discontinued prior to December 23,
         2013.

         (Defendants were cited for and breached this federal standard by failing to
         disclose, consider, and include in their risk management plans thousands of
         adverse events and complaints for migrations, perforations, pregnancies,



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           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (h) 21 C.F.R. 820.65- Each manufacturer of a device that is intended for surgical
         implant into the body or to support or sustain life and whose failure to perform
         when properly used in accordance with instructions for use provided in the
         labeling can be reasonably expected to result in a significant injury to the user
         shall establish and maintain procedures for identifying with a control number
         each unit, lot, or batch of finished devices and where appropriate components.
         The procedures shall facilitate corrective action. Such identification shall be
         documented in the DHR.

           (Defendants breached this federal standard by failing to establish and maintain
           procedures for identification of each Essure unit which in turn precluded
           proper corrective actions and led to the failing to disclose and include in their
           risk management analysis thousands of adverse events and complaints for
           migrations, perforations, pregnancies, and device failures and malfunctions,
           which in turn were never disclosed to Plaintiff and Implanting Physicians.
           This failing to disclose and include in their risk management analysis was a
           condition of approval in its CPMA)

     (i)    21 C.F.R. 822-Post market surveillance- This part implements section 522 of
           the Federal Food, Drug, and Cosmetic Act (the act) by providing procedures
           and requirements for postmarket surveillance of class II and class III devices
           that meet any of the following criteria:(a) Failure of the device would be
           reasonably likely to have serious adverse health consequences;(b) The device
           is intended to be implanted in the human body for more than 1 year;… The
           purpose of this part is to implement our postmarket surveillance authority to
           maximize the likelihood that postmarket surveillance plans will result in the
           collection of useful data. These data can reveal unforeseen adverse events, the
           actual rate of anticipated adverse events, or other information necessary to
           protect the public health.

           (Defendants were cited for and breached this federal standard by failing to
           comply with postmarket surveillance plans. Specifically by failing to disclose,
           consider, and include in their risk management plans thousands of adverse
           events and complaints for migrations, perforations, pregnancies, device
           failures and malfunctions, and the safety of loose coils, which in turn were
           never disclosed to Plaintiff and Implanting Physicians. Defendants further
           breached this federal standard by not withdrawing its product from the
           market.)


     (j) 21 C.F.R. 820.180- All records required by this part shall be maintained at the
         manufacturing establishment or other location that is reasonably accessible to
         responsible officials of the manufacturer and to employees of FDA designated

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         to perform inspections. Such records, including those not stored at the
         inspected establishment, shall be made readily available for review and
         copying by FDA employee(s). Such records shall be legible and shall be stored
         to minimize deterioration and to prevent loss. Those records stored in
         automated data processing systems shall be backed up.

         (Defendants were cited for and breached this federal standard by failing to
         disclose, consider, and include in their risk management plans thousands of
         adverse events and complaints for migrations, perforations, pregnancies,
         device failures and malfunctions, and the safety of loose coils, which in turn
         were never disclosed to Plaintiff and Implanting Physicians.)

     (k) 21 C.F.R. 820.198-(a) Each manufacturer shall maintain complaint files. Each
         manufacturer shall establish and maintain procedures for receiving, reviewing,
         and evaluating complaints by a formally designated unit. Such procedures shall
         ensure that:(1) All complaints are processed in a uniform and timely
         manner;(2) Oral complaints are documented upon receipt; and (3) Complaints
         are evaluated to determine whether the complaint represents an event which is
         required to be reported to FDA under part 803 of this chapter, Medical Device
         Reporting.(b) Each manufacturer shall review and evaluate all complaints to
         determine whether an investigation is necessary. When no investigation is
         made, the manufacturer shall maintain a record that includes the reason no
         investigation was made and the name of the individual responsible for the
         decision not to investigate.(c) Any complaint involving the possible failure of
         a device, labeling, or packaging to meet any of its specifications shall be
         reviewed, evaluated, and investigated, unless such investigation has already
         been performed for a similar complaint and another investigation is not
         necessary.(d) Any complaint that represents an event which must be reported
         to FDA under part 803 of this chapter shall be promptly reviewed, evaluated,
         and investigated by a designated individual(s) and shall be maintained in a
         separate portion of the complaint files or otherwise clearly identified. In
         addition to the information required by 820.198(e), records of investigation
         under this paragraph shall include a determination of:(1) Whether the device
         failed to meet specifications;(2) Whether the device was being used for
         treatment or diagnosis; and(3) The relationship, if any, of the device to the
         reported incident or adverse event.(e) When an investigation is made under
         this section, a record of the investigation shall be maintained by the formally
         designated unit identified in paragraph (a) of this section. The record of
         investigation shall include:(1) The name of the device;(2) The date the
         complaint was received;(3) Any unique device identifier (UDI) or universal
         product code (UPC), and any other device identification(s) and control
         number(s) used;(4) The name, address, and phone number of the
         complainant;(5) The nature and details of the complaint;(6) The dates and
         results of the investigation;(7) Any corrective action taken; and(8) Any reply
         to the complainant.(f) When the manufacturer's formally designated complaint
         unit is located at a site separate from the manufacturing establishment, the

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           investigated complaint(s) and the record(s) of investigation shall be reasonably
           accessible to the manufacturing establishment.(g) If a manufacturer's formally
           designated complaint unit is located outside of the United States, records
           required by this section shall be reasonably accessible in the United States at
           either:(1) A location in the United States where the manufacturer's records are
           regularly kept; or(2) The location of the initial distributor.

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (l) FDA requirement in CPMA order- “Within 10 days after Defendant receives
         knowledge of any adverse reaction to report the matter to the FDA.”

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (m) FDA requirement in CPMA order- “Report to the FDA under the MDR
        whenever it receives information from any source that reasonably suggests that
        the device may have caused or contributed to a serious injury.”

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physicians.)

     (n)    Monitor the product after pre-market approval and to discover and report to
           the FDA any complaints about the product's performance and any adverse
           health consequences of which it became aware and that are or may be
           attributable to the product, 21 CFR §§ 814 et seq.;

           (Defendants were cited for and breached this federal standard by failing to
           disclose, consider, and include in their risk management plans thousands of
           adverse events and complaints for migrations, perforations, pregnancies,
           device failures and malfunctions, and the safety of loose coils, which in turn
           were never disclosed to Plaintiff and Implanting Physician.)

     (o) Establish internal procedures for reviewing complaints and event reports, 21
         CFR §§820.198, §§ 820.100 et seq. and §§ 820.20 et seq.; and



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                    (Defendants were cited for and breached this federal standard by failing to
                    disclose, consider, and include in their risk management plans thousands of
                    adverse events and complaints for migrations, perforations, pregnancies,
                    device failures and malfunctions, and the safety of loose coils, which in turn
                    were never disclosed to Plaintiff and Implanting Physicians.)

       182.    Due to these breaches, Defendants were cited by the FDA as Defendants “did not

consider these complaints in their risk analysis” and “for their risk analysis of Essure being

incomplete.”

       183.    This was an unreasonably dangerous and negligent risk analysis plan which was

required by Federal law as it put Plaintiff at unnecessary risk of injury due to Defendants’ failure

to report adverse reports to the FDA, to track non-conforming product, update its labeling of

Essure, and to consider adverse reports in its risk analysis.

       184.    This breach caused Plaintiff’s damages because but for Defendants failure to

comply with federal law and disclose, consider, and include in their risk management plans and/or

labeling the thousands of adverse events and complaints for migrations, perforations, pregnancies,

device failures and malfunctions, Plaintiff would not have been implanted with Essure and

therefore would also not have been injured by Essure. Instead, Defendants failed to have a

complete Risk Management Plan in place thereby precluding Plaintiff and their implanting

physicians from knowing of the thousands of migrations, perforations, pregnancies, device failures

and malfunctions. This was actively concealed by Defendants.

       185.    This breach caused Plaintiff’s damages noted above.

       186.    As a result of Defendants’ negligence individually, jointly, and severally, Plaintiff

sustained the injuries and exacerbations noted above.




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        187.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

had to undergo numerous surgical procedures, diagnostic procedures, and may have to undergo

surgeries, diagnostic testing, treatment and rehabilitation into the indefinite future.

        188.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

sustained significant pain and suffering, permanent injuries, both physical and mental, and will

continue to do so into the indefinite future.

        189.    Plaintiff has been forced to expend significant sums of money for treatment of the

multitude of surgeries, testing, medicine, therapies along with related expenses, all to their

significant financial detriment and loss, and they may have to endure significant financial

expenditures into the foreseeable future.

        190.    Plaintiff has suffered a significant decrease in her ability to earn money in the

future, as well as a significant loss of earning capacity.

        WHEREFORE, for the above reasons, Plaintiff demands judgment in her favor and against

the Defendants for an amount in excess of $50,000.00 each, compensatory, punitive damages,

incidental, consequential, including pain and suffering which was a foreseeable consequential

damages, delay damages, attorney’s fees and costs of suit in an amount to be determined upon the

trial of this matter.

                        BREACH OF EXPRESS WARRANTY- COUNT III

        191.    Plaintiff re-alleges and re-incorporates the preceding Paragraphs and pleads in the

alternative to Counts IV.

        192.    The FDA’s CPMA order confirms that: the FDA “does not evaluate information

related to contractual liability warranties, however you should be aware that any such warranty




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statements must be truthful, accurate, and not misleading, and must be consistent with applicable

Federal and State laws.”

           193.     This claim arises out of injuries caused by Defendants’ express warranties to

Plaintiff which were specifically negotiated and expressly communicated to Plaintiff by

Defendants or its agents in such a manner that Plaintiff understood and accepted them.

           194.     Defendant made, and Plaintiff relied on, the following actual affirmations of fact or

promises which formed the bases of the bargain between Plaintiff and Defendants: 19

                    (a)          “Only FDA approved female sterilization procedure to have zero

                                 pregnancies in the clinical trials.”


                            i.          Plaintiff relied on and actually saw this warranty and believed it to be
                                        true. Specifically, Plaintiff saw and read this warranty which was
                                        located on Defendants’ website www.essure.com.The circumstances
                                        under which Plaintiff encountered this representation was via the
                                        internet when they were researching options of birth control.

                           ii.          This warranty created the basis of the bargain as Plaintiff read and saw
                                        the warranty and wanted a reliable type of birth control.

                           iii.         However, this warranty was false as there were actually four
                                        pregnancies during the clinical trials and five pregnancies during the
                                        first year of commercial experience. Defendants concealed this
                                        information from Plaintiff.

                    (b)          “There were Zero pregnancies in the clinical trials.”

                                   i.    Plaintiff relied on and actually saw this warranty and believed it to
                                         be true. Specifically, Plaintiff saw and read this warranty on
                                         Defendants’ website www.essure.com. The circumstances under
                                         which Plaintiff encountered this representation was via the internet
                                         when they were researching options of birth control.

                                  ii.    This warranty created the basis of the bargain as Plaintiff read and
                                         saw the warranty and wanted a reliable type of birth control.



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     The warranties and misrepresentations relating to pregnancy apply to only those plaintiffs that became pregnant.

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                  iii.   However, this warranty was false as there were actually four
                         pregnancies during the clinical trials and five pregnancies during the
                         first year of commercial experience. Defendants concealed this
                         information from Plaintiff.

     (c)          “Physicians must be signed-off to perform Essure procedures”

                  i.     Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty located on
                         Defendants’ website www.essure.com. The circumstances under
                         which Plaintiff encountered this representation was via the internet
                         when they were researching options of birth control.

              ii.        This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted reliable physicians who were approved
                         to perform her surgery.

             iii.        However, this warranty was false as Defendants failed to abide by
                         the FDA guidelines when training the implanting physicians and
                         “signed-off” on the implanting physicians who did not have the
                         requisite training. Defendants concealed this information from
                         Plaintiff.

     (d)          “Worry free: Once your doctor confirms that your tubes are blocked, you

                  never have to worry about unplanned pregnancy”


             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on
                         Defendants’ website www.essure.com. The circumstances under
                         which Plaintiff encountered this representation was via the internet
                         when they were researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control.

           iii.          However, this warranty was false as several pregnancies have been
                         reported subsequent to confirmation. Defendants concealed this
                         information from Plaintiff. Between 1997-2005, 64 pregnancies
                         were reported to Defendants. Defendants concealed this information
                         from Plaintiff. Adverse Event Report ESS 205 dated 10/3/2006
                         evidences a pregnancy after the three month Confirmation Test was
                         confirmed. Defendants concealed this information from Plaintiff.
                         There have been over 30 pregnancies after “doctors confirmed the
                         tubes were blocked.” Women who have Essure have 10 times

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                                      greater risk of pregnancy after one year than those who use
                                      laparoscopic sterilization. At ten years, the risk of pregnancy is
                                      almost four (4) times greater. 20 Defendants’ SEC filings, Form 10-
                                      K show that the HSG test used to confirm the tubes are blocked has
                                      been described by Defendants as “painful and is also known to be
                                      highly inaccurate, with false-positive results in as many as 40%.”

                  (e)          “Essure is the most effective permanent birth control available-even more

                               effective than tying your tubes or a vasectomy.”


                          i.          Plaintiff relied on and actually saw this warranty and believed it to
                                      be true. Specifically, Plaintiff saw and read this warranty on
                                      Defendants’ website www.essure.com. The circumstances under
                                      which Plaintiff encountered this representation was via the internet
                                      when they were researching options of birth control.

                        ii.           This warranty created the basis of the bargain as Plaintiff read and
                                      saw the warranty and wanted a reliable type of birth control.

                        iii.          However, this warranty was false as Defendants’ SEC filings, Form
                                      10-K show that no comparison to a vasectomy or tying of tubes was
                                      ever done by Defendants. Defendants stated, “We did not conduct
                                      a clinical trial to compare the Essure procedure to laparoscopic tubal
                                      ligation.” Defendants concealed this information from Plaintiff. In
                                      fact, women who have Essure have 10 times greater risk of
                                      pregnancy after one year than those who use laparoscopic
                                      sterilization. At ten years, the risk of pregnancy is almost 4 times
                                      greater.21

                  (f)          “Correct placement…is performed easily because of the design of the

                               micro-insert”

                          i.          Plaintiff relied on and actually saw this warranty and believed it to
                                      be true. Specifically, Plaintiff saw and read this warranty on
                                      Defendants’ website www.essure.com. The circumstances under
                                      which Plaintiff encountered this representation was via the internet
                                      when they were researching options of birth control.

                        ii.           This warranty created the basis of the bargain as Plaintiff read and
                                      saw the warranty and wanted a procedure that could be easily

20
   Probability of pregnancy after sterilization: a comparison of hysteroscopic versus laparoscopic sterilization,
Gariepy, Aileen. Medical Publication “Contraception.” Elsevier 2014.
21
   Id.

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                          performed and ensure that placement of the devices were properly
                          positioned.

           iii.           However, this warranty was false as Defendants admitted that
                          placement of the device requires a “skilled approach” and even
                          admitted that their own experts in hysteroscopy (as compared to
                          general gynecologists not on the same level as an expert
                          hysteroscopist) failed to place the micro-inserts in 1 out of 7 clinical
                          participants. Defendants concealed this information from Plaintiff.

     (g)          “Essure is a surgery-free permanent birth control.”

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty on
                          Defendants’ website www.essure.com. The circumstances under
                          which Plaintiff encountered this representation was via the internet
                          when they were researching options of birth control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable type of birth control.

           iii.           However, this warranty was false as Essure is not permanent as the
                          coils migrate, perforate organs and are expelled by the body.
                          Moreover, all Essure procedures are done under hysteroscopy,
                          which is a surgical procedure.

     (h)          “Zero pregnancies” in its clinical or pivotal trials.

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty on an
                          advertisement entitled “Are you Ready?” The circumstances under
                          which Plaintiff encountered this representation was via a brochure
                          given to her at her implanting physicians’ office and was read when
                          they were researching options of birth control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable type of birth control.

           iii.           However, this warranty was false as there were at least four
                          pregnancies. Defendants concealed this information from Plaintiff.

     (i)          In order to be identified as a qualified Essure physician, a minimum of one

                  Essure procedure must be performed every 6-8 weeks.




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             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an
                         Essure advertisement. The circumstances under which Plaintiff
                         encountered this representation was via a brochure when they were
                         researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted reliable physicians who were approved
                         to perform her surgery.

           iii.          However, this warranty was false as Defendants “signed off” on
                         “Essure physicians who did not perform the procedure every 6-8
                         weeks, including the implanting physicians. Defendants concealed
                         this information from Plaintiff.

     (j)          You’ll never have to worry about unplanned pregnancy again.

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an
                         advertisement entitled “When your family is complete, choose
                         Essure” and on www.essure.com. The circumstances under which
                         Plaintiff encountered this representation was via a brochure when
                         they were researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control.

           iii.          However, this warranty was false as there were at least four
                         pregnancies. Defendants concealed this information from Plaintiff.

     (k)          Defendants marketed with commercials stating during the procedure: “the

                  tip of each insert remains visible to your doctor, so proper placement can be

                  confirmed.”

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty located on
                         an advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation was via a brochure when they were researching
                         options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a procedure that could be easily



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                        performed and ensure that placement of the devices were properly
                        positioned.

           iii.         However, this warranty was false as Essure does not allow for visual
                        confirmation of proper placement during the procedure.


     (l)          “Worry free”

             i.         Plaintiff relied on and actually saw this warranty and believed it to
                        be true. Specifically, Plaintiff saw and read this warranty located on
                        an advertisement entitled “When your family is complete, choose
                        Essure.” The circumstances under which Plaintiff encountered this
                        representation was via a brochure when they were researching
                        options of birth control.

           ii.          This warranty created the basis of the bargain as Plaintiff read and
                        saw the warranty and wanted a reliable type of birth control that she
                        did not have to worry about working or causing her serious health
                        problems.

           iii.         However, Defendants actively concealed and failed to report 8
                        perforations which occurred as a result of Essure to the FDA as
                        evidenced in a Form 483 issued by the FDA to Defendants.
                        Defendants actively concealed this from Plaintiff. Defendants were
                        issued another Form 483 when it “erroneously used non-conforming
                        material.” Defendants actively concealed this and was issued an
                        additional Form 483 for “failing to adequately document the
                        situation.” Defendants actively concealed this from Plaintiff.
                        Defendants’ facility was also issued a notice of violation as it “no
                        longer uses pre-sterile and post-sterile cages.” Defendants actively
                        concealed this from Plaintiff. Defendants also was issued a notice
                        of violation when it “failed to obtain a valid license…prior to
                        manufacturing medical devices.” Defendants were manufacturing
                        devices for three years without a license. Defendants actively
                        concealed this from Plaintiff. Defendants were also issued a notice
                        of violation as it was manufacturing medical devices from 2005 at
                        an unlicensed facility Defendants actively concealed this from
                        Plaintiff. Defendants failed to notice the FDA of their internal excel
                        file containing 16,047 entries of complaints.      Defendants’ SEC
                        filings, Form 10-K show that the HSG test used to confirm the tubes
                        are blocked has been described by Defendants as “painful and is also
                        known to be highly inaccurate, with false-positive results in as many
                        as 40%.” Defendants were issued Form 483’s for not disclosing
                        MDR’s to the FDA for perforations, migrations and instances where
                        Essure broke into pieces; were cited for having an incomplete risk

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                         analysis, not documenting non-conforming products, not following
                         procedures used to control non-confirming product, and other
                         quality problems.

     (m)          “The Essure inserts stay secure, forming a long protective barrier against

                  pregnancy. They also remain visible outside your tubes, so your doctor can

                  confirm that they’re properly in place.”


             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty located on
                         an advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation was via a brochure when they were researching
                         options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that
                         would not migrate and that could be visible so that implanting
                         physicians could confirm they were placed properly and would not
                         migrate or cause her other health problems.

           iii.          However, this warranty was false as the micro-inserts do not remain
                         secure but migrate and are expelled by the body. Defendants
                         actively concealed this information from Plaintiff.     Defendants
                         actively concealed and failed to report 8 perforations which
                         occurred as a result of Essure to the FDA as evidenced in Form 483
                         issued to Defendants by the FDA. Defendants were issued Form
                         483’s for not disclosing MDR’s to the FDA for perforations,
                         migrations and instances where Essure broke into pieces; were cited
                         for having an incomplete risk analysis, not documenting non-
                         conforming products, not following procedures used to control non-
                         confirming product, and other quality problems.

     (n)          “The Essure inserts are made from the same trusted, silicone free material

                  used in heart stents.”

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty located on
                         an advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation when they were researching options of birth control.



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                          ii.          This warranty created the basis of the bargain as Plaintiff read and
                                       saw the warranty and wanted a reliable type of birth control that was
                                       made of safe material which would not cause her serious health
                                       problems.

                          iii.         However, this warranty was false as the micro-inserts are not made
                                       from the same material as heart stents. Specifically, the micro-
                                       inserts are made of PET fibers which trigger inflammation and scar
                                       tissue growth. Heart stents do not elicit tissue growth. Defendants
                                       actively concealed this from Plaintiff. PET fibers are not designed
                                       or manufactured for use in human implantation. Moreover,
                                       Defendants also warranted: “the long-term nature of the tissue
                                       response to the Essure micro-insert is not known.” PET fibers are
                                       made of the same materials as the PVT material in vaginal meshes
                                       which have a high rate of expulsion. Most egregiously, Defendants
                                       were issued another Form 483 when it “erroneously used non-
                                       conforming material.” Defendants actively concealed this and was
                                       issue another Form 483 for “failing to adequately document the
                                       situation.”

                    (o)          Step Two: “pregnancy cannot occur”; Step Three: The Confirmation.

                            i.         Plaintiff relied on and actually saw this warranty and believed it to
                                       be true. Specifically, Plaintiff saw and read this warranty located on
                                       an advertisement entitled “When your family is complete, choose
                                       Essure.” The circumstances under which Plaintiff encountered this
                                       representation was via a brochure when they were researching
                                       options of birth control.

                          ii.          This warranty created the basis of the bargain as Plaintiff read and
                                       saw the warranty and wanted a reliable type of birth control.

                          iii.         However, this warranty was false as Defendants also state that it is
                                       only after “The Confirmation” pregnancy cannot occur. i.e. the
                                       complete opposite of what is warranted in the brochure. Adverse
                                       Event Report ESS 205 dated 10/3/2006 evidences a pregnancy after
                                       the three month confirmation test was confirmed. Between 1997-
                                       2005, 64 pregnancies were reported to Defendants. Defendants
                                       concealed this information from Plaintiff. There have been over 30
                                       pregnancies after “doctors confirmed the tubes were blocked.”
                                       There have been incidents where the micro-inserts were expelled
                                       from the body even after the Confirmation Test22.




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     Essure insert expulsion after 3-month hysterosalpingogram, US National Library of Medicine, Garcia, Al.

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     (p)          “Essure eliminates the risks, discomfort, and recovery time associated with

                  surgical procedures.”

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty located on
                         an advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation was via a brochure when they were researching
                         options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that
                         eliminated the risks and discomfort associated with other types of
                         birth control.

           iii.          However, this warranty was false as Essure is not “surgery-free”,
                         rather surgery is not required. Defendants’ SEC filings, Form 10-K
                         show that the HSG test used to confirm the tubes are blocked has
                         been described by Defendants as “painful and is also known to be
                         highly inaccurate, with false-positive results in as many as 40%.”

     (q)          Essure is a …permanent birth control procedure-without … the risks of

                  getting your tubes tied.

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an
                         advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation was via a brochure when they were researching
                         options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that
                         eliminated the risks and discomfort associated with other types of
                         birth control.

           iii.          However, this warranty was false as Essure does not eliminate the
                         risks associated with other surgeries, such as tubal ligation, but
                         actually includes more risks which were not known to Plaintiff.

     (r)          “The inserts are made from…safe, trusted material.”

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an

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                         advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation was via a brochure when they were researching
                         options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that was
                         made of safe material which would not cause her serious health
                         problems.

           iii.          However, this warranty was false as the inserts are not made of safe,
                         trusted material as they migrate, corrode, break, and contain drugs.
                         In fact, Defendants refer to Essure and classify it as a “drug.”

     (s)          Defendants’ Essure booklet warrants: “This viewable portion of the micro-

                  insert serves to verify placement and does not irritate the lining of the

                  uterus.”


             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on a
                         booklet advertisement entitled “Essure: Permanent Birth Control”
                         The circumstances under which Plaintiff encountered this
                         representation was via a brochure given to them at their implanting
                         physicians’ office and was read when they were researching options
                         of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that
                         would not migrate and that could be visible so that their implanting
                         physicians could confirm they were placed properly and would not
                         migrate or cause her other health problems. Moreover, Plaintiff
                         wanted a birth control that did not irritate her uterus like other forms
                         of birth control.

           iii.          However, this warranty was false as the device does irritate the
                         uterus as the device is left trailing into the uterus and continues to
                         elicit tissue growth. Defendants concealed this information from
                         Plaintiff. Defendants actively concealed and failed to report 8
                         perforations which occurred as a result of Essure to the FDA as
                         evidenced in Form 483. Defendants were issued Form 483’s for not
                         disclosing MDR’s to the FDA for perforations, migrations and
                         instances where Essure broke into pieces; were cited for having an
                         incomplete risk analysis, not documenting non-conforming

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                                   products, not following procedures used to control non-confirming
                                   product, and other quality problems.

               (t)          “there was no cutting, no pain, no scars…”

                       i.          Plaintiff relied on and actually saw this warranty and believed it to
                                   be true. Specifically, Plaintiff saw and read this warranty on a
                                   booklet advertisement entitled “Essure: Permanent Birth Control”
                                   The circumstances under which Plaintiff encountered this
                                   representation was via a brochure when they were researching
                                   options of birth control.

                     ii.           This warranty created the basis of the bargain as Plaintiff read and
                                   saw the warranty and wanted a reliable type of birth control that did
                                   not cause pain cutting or scars like other forms of birth control do.

                     iii.          However, this warranty was false as Plaintiff have experienced pain
                                   as a result of Essure. Defendants concealed this information from
                                   Plaintiff. Defendants’ SEC filings, Form 10-K show that the HSG
                                   test used to confirm the tubes are blocked has been described by
                                   Defendants as “painful and is also known to be highly inaccurate,
                                   with false-positive results in as many as 40%.” Defendants were
                                   issued Form 483’s for not disclosing MDR’s to the FDA for pain.
                                   Defendants altered the records of at least one trial participant to
                                   reflect less pain.

       195.    Defendants’ “affirmations of fact or promise” and “descriptions” created a basis of

the bargain for Plaintiff as noted above.

       196.    The warranties were specifically negotiated, directed, intended, and expressly

communicated to Plaintiff in such a manner that Plaintiff understood and accepted them.

Moreover, Plaintiff provided reasonable notification of the breach.

        197. These warranties, in effect, over-promoted Essure and nullified otherwise adequate

warnings.

       198.    As a result of Defendants’ warranties and Plaintiff’s reliance on same, Plaintiff has

suffered damages. Specifically, the Essure device did not perform as warranted and instead

migrated, perforated and/or broke resulting in the injuries noted above.



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        199.    As a result of Defendants’ breaches individually, jointly, and severally, Plaintiff

sustained the injuries and exacerbations noted above.

        200.    As a result of Defendants’ breaches, individually, jointly, and severally, Plaintiff

had to undergo numerous surgical procedures, diagnostic procedures, and may have to undergo

surgeries, diagnostic testing, treatment and rehabilitation into the indefinite future.

        201.    As a result of Defendants’ breaches, individually, jointly, and severally, Plaintiff

sustained significant pain and suffering, permanent injuries, both physical and mental, and will

continue to do so into the indefinite future.

        202.    Plaintiff has been forced to expend significant sums of money for treatment of the

multitude of surgeries, testing, medicine, therapies along with related expenses, all to their

significant financial detriment and loss, and they may have to endure significant financial

expenditures into the foreseeable future.

        203.    Plaintiff has suffered a significant decrease in her ability to earn money in the

future, as well as a significant loss of earning capacity.

        WHEREFORE, for the above reasons, Plaintiff demands judgment in her favor and against

the Defendants for an amount in excess of $50,000.00 each, compensatory, punitive damages,

incidental, consequential, including pain and suffering which was a foreseeable consequential

damages, delay damages, attorney’s fees and costs of suit in an amount to be determined upon the

trial of this matter.

                        NEGLIGENT MISREPRESENTATION – COUNT IV

        204.    Plaintiff re-alleges and re-incorporates the preceding Paragraphs.

        205.    Defendants made the following misrepresentations:




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     (a)          “Only FDA approved female sterilization procedure to have zero

                  pregnancies in the clinical trials.”

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty which was
                          located on Defendants’ website www.essure.com.                    The
                          circumstances under which Plaintiff encountered this representation
                          was via the internet when they were researching options of birth
                          control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable type of birth control.

           iii.           However, this warranty was false as there were actually four
                          pregnancies during the clinical trials and five pregnancies during the
                          first year of commercial experience. Defendants concealed this
                          information from Plaintiff.

     (b)          “There were Zero pregnancies in the clinical trials.”

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty on
                          Defendants’ website www.essure.com. The circumstances under
                          which Plaintiff encountered this representation was via the internet
                          when they were researching options of birth control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable type of birth control.

           iii.           However, this warranty was false as there were actually four
                          pregnancies during the clinical trials and five pregnancies during the
                          first year of commercial experience. Defendants concealed this
                          information from Plaintiff.

     (c)          “Physicians must be signed-off to perform Essure procedures”

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty on
                          Defendants’ website www.essure.com. The circumstances under
                          which Plaintiff encountered this representation was via the internet
                          when they were researching options of birth control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable physician who was approved
                          to perform her surgery.

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                       iii.          However, this warranty was false as Defendants failed to abide by
                                     the FDA guidelines when training the implanting physicians and
                                     “signed-off” on the implanting physicians who did not have the
                                     requisite training. Defendants concealed this information from
                                     Plaintiff.

                 (d)          “Worry free: Once your doctor confirms that your tubes are blocked, you

                              never have to worry about unplanned pregnancy”

                         i.          Plaintiff relied on and actually saw this warranty and believed it to
                                     be true. Specifically, Plaintiff saw and read this warranty on
                                     Defendants’ website www.essure.com. The circumstances under
                                     which Plaintiff encountered this representation was via the internet
                                     when they were researching options of birth control.

                        ii.          This warranty created the basis of the bargain as Plaintiff read and
                                     saw the warranty and wanted a reliable type of birth control.

                       iii.          However, this warranty was false as several pregnancies have been
                                     reported subsequent to confirmation. Defendants concealed this
                                     information from Plaintiff. Between 1997-2005, 64 pregnancies
                                     were reported to Defendants. Defendants concealed this information
                                     from Plaintiff. Adverse Event Report ESS 205 dated 10/3/2006
                                     evidences a pregnancy after the three month Confirmation Test was
                                     confirmed. Defendants concealed this information from Plaintiff.
                                     There have been over 30 pregnancies after “doctors confirmed the
                                     tubes were blocked.” Women who have Essure have 10 times
                                     greater risk of pregnancy after one year than those who use
                                     laparoscopic sterilization. At ten years, the risk of pregnancy is
                                     almost four (4) times greater.23 Defendants’ SEC filings, Form 10-
                                     K show that the HSG test used to confirm the tubes are blocked has
                                     been described by Defendants as “painful and is also known to be
                                     highly inaccurate, with false-positive results in as many as 40%.”

                 (e)          “Essure is the most effective permanent birth control available-even more

                              effective than tying your tubes or a vasectomy.”


                         i.          Plaintiff relied on and actually saw this warranty and believed it to
                                     be true. Specifically, Plaintiff saw and read this warranty on
                                     Defendants’ website www.essure.com. The circumstances under

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 Probability of pregnancy after sterilization: a comparison of hysteroscopic versus laparoscopic sterilization,
Gariepy, Aileen. Medical Publication “Contraception.” Elsevier 2014.

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                                    which Plaintiff encountered this representation was via the internet
                                    when they were researching options of birth control.

                      ii.           This warranty created the basis of the bargain as Plaintiff read and
                                    saw the warranty and wanted a reliable type of birth control.

                      iii.          However, this warranty was false as Defendants’ SEC filings, Form
                                    10-K show that no comparison to a vasectomy or tying of tubes was
                                    ever done by Defendants. Defendants stated, “We did not conduct
                                    a clinical trial to compare the Essure procedure to laparoscopic tubal
                                    ligation.” Defendants concealed this information from Plaintiff. In
                                    fact, women who have Essure have 10 times greater risk of
                                    pregnancy after one year than those who use laparoscopic
                                    sterilization. At ten years, the risk of pregnancy is almost 4 times
                                    greater24.

                (f)          “Correct placement…is performed easily because of the design of the

                             micro-insert”

                        i.          Plaintiff relied on and actually saw this warranty and believed it to
                                    be true. Specifically, Plaintiff saw and read this warranty on
                                    Defendants’ website www.essure.com. The circumstances under
                                    which Plaintiff encountered this representation was via the internet
                                    when they were researching options of birth control.

                      ii.           This warranty created the basis of the bargain as Plaintiff read and
                                    saw the warranty and wanted a procedure that could be easily
                                    performed and ensure that placement of the devices were properly
                                    positioned.

                      iii.          However, this warranty was false as Defendants admitted that
                                    placement of the device requires a “skilled approach” and even
                                    admitted that their own experts in hysteroscopy (as compared to
                                    general gynecologists not on the same level as an expert
                                    hysteroscopist) failed to place the micro-inserts in 1 out of 7 clinical
                                    participants. Defendants concealed this information from Plaintiff.

                (g)          “the Essure training program is a comprehensive course designed to provide

                             information and skills necessary to select appropriate patients, perform




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     Id.

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                  competent procedures and manage technical issues related to the placement

                  of Essure micro-inserts for permanent birth control.”


             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on
                         Defendants’ website www.essure.com. The circumstances under
                         which Plaintiff encountered this representation was via the internet
                         when they were researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted an implanting physician that was
                         properly trained on placing the device and managing any technical
                         issues.

           iii.          However, this warranty was false as Defendants failed to train the
                         implanting physicians pursuant to the FDA guidelines. Defendants
                         concealed this information from Plaintiff.

     (h)          “In order to be trained in Essure you must be a skilled operative

                  hysteroscopist. You will find the procedure easier to learn if you are already

                  proficient in operative hysteroscopy and management of the awake patient.

                  If your skills are minimal or out of date, you should attend a hysteroscopy

                  course before learning Essure.”


             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on
                         Defendants’ website www.essure.com. The circumstances under
                         which Plaintiff encountered this representation was via the internet
                         when they were researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted an implanting physician that was
                         properly trained on placing the device and managing any technical
                         issues.

           iii.          However, this warranty was false as Defendants “signed off” on the
                         implanting physicians who were not a skilled operative
                         hysteroscopist, in order to monopolize and capture the market,



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                          including the implanting physicians. Defendants concealed this
                          information from Plaintiff.

     (i)          “Essure is a surgery-free permanent birth control.”

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty on
                          Defendants’ website www.essure.com. The circumstances under
                          which Plaintiff encountered this representation was via the internet
                          when they were researching options of birth control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable type of birth control.

           iii.           However, this warranty was false as Essure is not permanent as the
                          coils migrate, perforate organs and are expelled by the body.
                          Moreover, all Essure procedures are done under hysteroscopy,
                          which is a surgical procedure.

     (j)          “Zero pregnancies” in its clinical or pivotal trials.

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty on an
                          advertisement entitled “Are you Ready?” The circumstances under
                          which Plaintiff encountered this representation was via a brochure
                          read when they were researching options of birth control.

           ii.            This warranty created the basis of the bargain as Plaintiff read and
                          saw the warranty and wanted a reliable type of birth control.

           iii.           However, this warranty was false as there were at least four
                          pregnancies. Defendants concealed this information from Plaintiff.

     (k)          In order to be identified as a qualified Essure physician, a minimum of one

                  Essure procedure must be performed every 6-8 weeks.

             i.           Plaintiff relied on and actually saw this warranty and believed it to
                          be true. Specifically, Plaintiff saw and read this warranty located on
                          an Essure advertisement. The circumstances under which Plaintiff
                          encountered this representation was via a brochure given to her at
                          her implanting physicians’ office and was read when they were
                          researching options of birth control.




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              ii.             This warranty created the basis of the bargain as Plaintiff read and
                              saw the warranty and wanted a reliable Physician who was approved
                              to perform her surgery.

             iii.             However, this warranty was false as Defendants “signed off” on
                              “Essure physicians” who did not perform the procedure every 6-8
                              weeks, including the implanting physicians. Defendants concealed
                              this information from Plaintiff.

     (l)               You’ll never have to worry about unplanned pregnancy again.

             i.               Plaintiff relied on and actually saw this warranty and believed it to
                              be true. Specifically, Plaintiff saw and read this warranty on an
                              advertisement entitled “When your family is complete, choose
                              Essure” and on www.essure.com. The circumstances under which
                              Plaintiff encountered this representation was via a brochure when
                              they were researching options of birth control.

           ii.                This warranty created the basis of the bargain as Plaintiff read and
                              saw the warranty and wanted a reliable type of birth control.

           iii.               However, this warranty was false as there were at least four
                              pregnancies. Defendants concealed this information from Plaintiff.

     (m)               Defendants marketed with commercials stating during the procedure: “the

                       tip of each insert remains visible to your doctor, so proper placement can be

                       confirmed.”

                  i.          Plaintiff relied on and actually saw this warranty and believed it to
                              be true. Specifically, Plaintiff saw and read this warranty on an
                              advertisement entitled “When your family is complete, choose
                              Essure” and on www.essure.com. The circumstances under which
                              Plaintiff encountered this representation was via a brochure when
                              they were researching options of birth control.

              ii.             This warranty created the basis of the bargain as Plaintiff read and
                              saw the warranty and wanted a procedure that could be easily
                              performed and ensure that placement of the devices were properly
                              positioned.

             iii.             However, this warranty was false as Essure does not allow for visual
                              confirmation of proper placement during the procedure.

     (n)               “Worry free”

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             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an
                         advertisement entitled “When your family is complete, choose
                         Essure” and on www.essure.com. The circumstances under which
                         Plaintiff encountered this representation was via a brochure when
                         they were researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that she
                         did not have to worry about working or causing her serious health
                         problems.

           iii.          However, Defendants actively concealed and failed to report 8
                         perforations which occurred as a result of Essure to the FDA as
                         evidenced in a Form 483 issued by the FDA to Defendants.
                         Defendants actively concealed this from Plaintiff. Defendants were
                         issued another Form 483 when it “erroneously used non-conforming
                         material.” Defendants actively concealed this and was issued an
                         additional Form 483 for “failing to adequately document the
                         situation.” Defendants actively concealed this from Plaintiff.
                         Defendants’ facility was also issued a notice of violation as it “no
                         longer uses pre-sterile and post-sterile cages.” Defendants actively
                         concealed this from Plaintiff. Defendants also was issued a notice
                         of violation when it “failed to obtain a valid license…prior to
                         manufacturing medical devices.” Defendants were manufacturing
                         devices for three years without a license. Defendants actively
                         concealed this from Plaintiff. Defendants were also issued a notice
                         of violation as it was manufacturing medical devices from 2005 at
                         an unlicensed facility. Defendants actively concealed this from
                         Plaintiff. Defendants failed to notice the FDA of their internal excel
                         file containing 16,047 entries of complaints. Defendants’ SEC
                         filings, Form 10-K show that the HSG test used to confirm the tubes
                         are blocked has been described by Defendants as “painful and is also
                         known to be highly inaccurate, with false-positive results in as many
                         as 40%.” Defendants were issued Form 483’s for not disclosing
                         MDR’s to the FDA for perforations, migrations and instances where
                         Essure broke into pieces; were cited for having an incomplete risk
                         analysis, not documenting non-conforming products, not following
                         procedures used to control non-confirming product, and other
                         quality problems.

     (o)          “The Essure inserts stay secure, forming a long protective barrier against

                  pregnancy. They also remain visible outside your tubes, so your doctor can

                  confirm that they’re properly in place.”

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             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an
                         advertisement entitled “When your family is complete, choose
                         Essure” and on www.essure.com. The circumstances under which
                         Plaintiff encountered this representation was via a brochure when
                         they were researching options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that
                         would not migrate and that could be visible so that their implanting
                         physicians could confirm they were placed properly and would not
                         migrate or cause her other health problems.

           iii.          However, this warranty was false as the micro-inserts do not remain
                         secure but migrate and are expelled by the body. Defendants
                         actively concealed this information from Plaintiff.     Defendants
                         actively concealed and failed to report 8 perforations which
                         occurred as a result of Essure to the FDA as evidenced in Form 483
                         issued to Defendants by the FDA. Defendants were issued Form
                         483’s for not disclosing MDR’s to the FDA for perforations,
                         migrations and instances where Essure broke into pieces; were cited
                         for having an incomplete risk analysis, not documenting non-
                         conforming products, not following procedures used to control non-
                         confirming product, and other quality problems.

     (p)          “The Essure inserts are made from the same trusted, silicone free material

                  used in heart stents.”

             i.          Plaintiff relied on and actually saw this warranty and believed it to
                         be true. Specifically, Plaintiff saw and read this warranty on an
                         advertisement entitled “When your family is complete, choose
                         Essure.” The circumstances under which Plaintiff encountered this
                         representation was via a brochure when they were researching
                         options of birth control.

           ii.           This warranty created the basis of the bargain as Plaintiff read and
                         saw the warranty and wanted a reliable type of birth control that was
                         made of safe material which would not cause her serious health
                         problems.

           iii.          However, this warranty was false as the micro-inserts are not made
                         from the same material as heart stents. Specifically, the micro-
                         inserts are made of PET fibers which trigger inflammation and scar
                         tissue growth. Heart stents do not elicit tissue growth. Defendants

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                                        actively concealed this from Plaintiff. PET fibers are not designed
                                        or manufactured for use in human implantation. Moreover,
                                        Defendants also warranted: “the long-term nature of the tissue
                                        response to the Essure micro-insert is not known.” PET fibers are
                                        made of the same materials as the PVT material in vaginal meshes
                                        which have a high rate of expulsion. Most egregiously, Defendants
                                        were issued another Form 483 when it “erroneously used non-
                                        conforming material.” Defendants actively concealed this and was
                                        issue another Form 483 for “failing to adequately document the
                                        situation.”

                    (q)          Step Two: “pregnancy cannot occur”; Step Three: The Confirmation.

                            i.          Plaintiff relied on and actually saw this warranty and believed it to
                                        be true. Specifically, Plaintiff saw and read this warranty on an
                                        advertisement entitled “When your family is complete, choose
                                        Essure.” The circumstances under which Plaintiff encountered this
                                        representation was via a brochure when they were researching
                                        options of birth control.

                          ii.           This warranty created the basis of the bargain as Plaintiff read and
                                        saw the warranty and wanted a reliable type of birth control.

                          iii.          However, this warranty was false as Defendants also state that it is
                                        only after “The Confirmation” pregnancy cannot occur. i.e. the
                                        complete opposite of what is warranted in the brochure. Adverse
                                        Event Report ESS 205 dated 10/3/2006 evidences a pregnancy after
                                        the three month confirmation test was confirmed. Between 1997-
                                        2005, 64 pregnancies were reported to Defendants. Defendants
                                        concealed this information from Plaintiff. There have been over 30
                                        pregnancies after “doctors confirmed the tubes were blocked.”
                                        There have been incidents where the micro-inserts were expelled
                                        from the body even after the Confirmation Test25.

                    (r)          “Essure eliminates the risks, discomfort, and recovery time associated with

                                 surgical procedures.”

                            i.          Plaintiff relied on and actually saw this warranty and believed it to
                                        be true. Specifically, Plaintiff saw and read this warranty on an
                                        advertisement entitled “When your family is complete, choose
                                        Essure.” The circumstances under which Plaintiff encountered this
                                        representation was via a brochure when they were researching
                                        options of birth control.


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     Essure insert expulsion after 3-month hysterosalpingogram, US National Library of Medicine, Garcia, Al.

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             ii.             This warranty created the basis of the bargain as Plaintiff read and
                             saw the warranty and wanted a reliable type of birth control that
                             eliminated the risks and discomfort associated with other types of
                             birth control.

            iii.             However, this warranty was false as Essure is not “surgery-free”,
                             rather surgery is not required. Defendants’ SEC filings, Form 10-K
                             show that the HSG test used to confirm the tubes are blocked has
                             been described by Defendants as “painful and is also known to be
                             highly inaccurate, with false-positive results in as many as 40%.”

     (s)              Essure is a …permanent birth control procedure-without … the risks of

                      getting your tubes tied.

                 i.          Plaintiff relied on and actually saw this warranty and believed it to
                             be true. Specifically, Plaintiff saw and read this warranty on an
                             advertisement entitled “When your family is complete, choose
                             Essure.” The circumstances under which Plaintiff encountered this
                             representation was via a brochure when they were researching
                             options of birth control.

             ii.             This warranty created the basis of the bargain as Plaintiff read and
                             saw the warranty and wanted a reliable type of birth control that
                             eliminated the risks and discomfort associated with other types of
                             birth control.

            iii.             However, this warranty was false as Essure does not eliminate the
                             risks associated with other surgeries, such as tubal ligation, but
                             actually includes more risks which were not known to Plaintiff.

     (t)              “The inserts are made from…safe, trusted material.”

            i.               Plaintiff relied on and actually saw this warranty and believed it to
                             be true. Specifically, Plaintiff saw and read this warranty on an
                             advertisement entitled “When your family is complete, choose
                             Essure.” The circumstances under which Plaintiff encountered this
                             representation was via a brochure when they were researching
                             options of birth control.

           ii.               This warranty created the basis of the bargain as Plaintiff read and
                             saw the warranty and wanted a reliable type of birth control that was
                             made of safe material which would not cause her serious health
                             problems.




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           iii.               However, this warranty was false as the inserts are not made of safe,
                              trusted material as they migrate, corrode, break, and contain drugs.
                              In fact, Defendants refer to Essure and classify it as a “drug.”

     (u)               Defendants’ Essure booklet warrants: “This viewable portion of the micro-

                       insert serves to verify placement and does not irritate the lining of the

                       uterus.”

                  i.          Plaintiff relied on and actually saw this warranty and believed it to
                              be true. Specifically, Plaintiff saw and read this warranty on a
                              booklet advertisement entitled “Essure: Permanent Birth Control”
                              The circumstances under which Plaintiff encountered this
                              representation was via a brochure read when they were researching
                              options of birth control.

              ii.             This warranty created the basis of the bargain as Plaintiff read and
                              saw the warranty and wanted a reliable type of birth control that
                              would not migrate and that could be visible so that their implanting
                              physicians could confirm they were placed properly and would not
                              migrate or cause her other health problems. Moreover, Plaintiff
                              wanted a birth control that did not irritate her uterus like other forms
                              of birth control.

             iii.             However, this warranty was false as the device does irritate the
                              uterus as the device is left trailing into the uterus and continues to
                              elicit tissue growth. Defendants concealed this information from
                              Plaintiff. Defendants actively concealed and failed to report 8
                              perforations which occurred as a result of Essure to the FDA as
                              evidenced in Form 483. Defendants were issued Form 483’s for not
                              disclosing MDR’s to the FDA for perforations, migrations and
                              instances where Essure broke into pieces; were cited for having an
                              incomplete risk analysis, not documenting non-conforming
                              products, not following procedures used to control non-confirming
                              product, and other quality problems.

    (v) “there was no cutting, no pain, no scars…”

             i.               Plaintiff relied on and actually saw this warranty and believed it to
                              be true. Specifically, Plaintiff saw and read this warranty on a
                              booklet advertisement entitled “Essure: Permanent Birth Control”
                              The circumstances under which Plaintiff encountered this
                              representation was via a brochure read when they were researching
                              options of birth control.



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                   ii.         This warranty created the basis of the bargain as Plaintiff read and
                               saw the warranty and wanted a reliable type of birth control that did
                               not cause pain cutting or scars like other forms of birth control do.

                    iii.       However, this warranty was false as Plaintiff has experienced pain
                               as a result of Essure. Defendants concealed this information from
                               Plaintiff. Defendants’ SEC filings, Form 10-K show that the HSG
                               test used to confirm the tubes are blocked has been described by
                               Defendants as “painful and is also known to be highly inaccurate,
                               with false-positive results in as many as 40%.” Defendants were
                               issued Form 483’s for not disclosing MDR’s to the FDA for pain.
                               Defendants altered the records of at least one trial participant to
                               reflect less pain.

       206.    Plaintiff justifiably relied on the misrepresentations. Specifically, Plaintiff would

have never had Essure implanted had she been aware of the falsity of the representations

specifically delineated in the preceding paragraphs which violate both Federal law and the CPMA.

       207.    Moreover, these misrepresentations, in effect, over-promoted Essure and nullified

otherwise adequate warnings.

       208.    As a result of Defendants’ misrepresentations and Plaintiff’s reliance on same,

Plaintiff has suffered damages. Specifically, the Essure device did not perform as represented and

instead migrated, perforated and/or broke resulting in the injuries noted above.

       209.    As a result of Defendants’ negligence individually, jointly, and severally, Plaintiff

sustained the injuries and exacerbations noted above.

       210.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

had to undergo numerous surgical procedures, diagnostic procedures, and may have to undergo

surgeries, diagnostic testing, treatment and rehabilitation into the indefinite future.

       211.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

sustained significant pain and suffering, permanent injuries, both physical and mental, and will

continue to do so into the indefinite future.



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        212.    Plaintiff has been forced to expend significant sums of money for treatment of the

multitude of surgeries, testing, medicine, therapies along with related expenses, all to their

significant financial detriment and loss, and they may have to endure significant financial

expenditures into the foreseeable future.

        213.    Plaintiff has suffered a significant decrease in her ability to earn money in the

future, as well as a significant loss of earning capacity.

        WHEREFORE, for the above reasons, Plaintiff demands judgment in her favor and against

the Defendants for an amount in excess of $50,000.00 each, compensatory, punitive damages,

incidental, consequential, including pain and suffering which was a foreseeable consequential

damages, delay damages, attorney’s fees and costs of suit in an amount to be determined upon the

trial of this matter.

                          NEGLIGENCE-FAILURE TO WARN– COUNT V

        214.    Plaintiff re-alleges and re-incorporates the preceding Paragraphs.

        215.    Plaintiff’s injuries were caused by the negligent and reckless conduct of Defendants

in failing to warn Plaintiff or their implanting physicians, all of which hinge on violations of

Federal law and its CPMA.

        216.    Defendants had a duty to warn Plaintiff and/or their implanting physicians

consistent with Federal law and its CMPA and included:

               (a) 21 C.F.R. 814, governing premarket approval of medical devices, a Statement
                   of material fact means a representation that tends to show that the safety or
                   effectiveness of a device is more probable than it would be in the absence of
                   such a representation. A false affirmation or silence or an omission that would
                   lead a reasonable person to draw a particular conclusion as to the safety or
                   effectiveness of a device also may be a false statement of material fact, even if
                   the statement was not intended by the person making it to be misleading or to
                   have any probative effect.




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    (b) 21 C.F.R. 814.80-A device may not be manufactured, packaged, stored, labeled,
        distributed, or advertised in a manner that is inconsistent with a conditions of
        approval specified in the PMA approval order for the device.

    (c) 21 C.F.R. 820.65- establish and maintain procedures for identifying with a
        control number each unit, lot, or batch of finished devices and where appropriate
        components. The procedures shall facilitate corrective action.

    (d) 21 C.F.R. 803.1(a)- This part establishes the requirements for medical device
        reporting for device user facilities, manufacturers, importers, and distributors. If
        you are a device user facility, you must report deaths and serious injuries that a
        device has or may have caused or contributed to, establish and maintain adverse
        event files, and submit summary annual reports. If you are a manufacturer or
        importer, you must report deaths and serious injuries that your device has or may
        have caused or contributed to, you must report certain device malfunctions, and
        you must establish and maintain adverse event files. If you are a manufacturer,
        you must also submit specified follow-up. These reports help us to protect the
        public health by helping to ensure that devices are not adulterated or misbranded
        and are safe and effective for their intended use.

    (e) 21 C.F.R. 803.10- (a) If you are a device user facility, you must submit reports
        (described in subpart C of this part), as follows: (1) Submit reports of individual
        adverse events no later than 10 work days after the day that you become aware
        of a reportable event :(i) Submit reports of device-related deaths to us and to the
        manufacturer, if known; or (ii) Submit reports of device-related serious injuries
        to the manufacturers or, if the manufacturer is unknown, submit reports to us.(2)
        Submit annual reports (described in 803.33) to us.(b) If you are an importer, you
        must submit reports (described in subpart D of this part), as follows:(1) Submit
        reports of individual adverse events no later than 30 calendar days after the day
        that you become aware of a reportable event:(i) Submit reports of device-related
        deaths or serious injuries to us and to the manufacturer; or(ii) Submit reports of
        device-related malfunctions to the manufacturer.(2) [Reserved](c) If you are a
        manufacturer, you must submit reports (described in subpart E of this part) to us,
        as follows:(1) Submit reports of individual adverse events no later than 30
        calendar days after the day that you become aware of a reportable death, serious
        injury, or malfunction.(2) Submit reports of individual adverse events no later
        than 5 work days after the day that you become aware of:(i) A reportable event
        that requires remedial action to prevent an unreasonable risk of substantial harm
        to the public health, or(ii) A reportable event for which we made a written
        request.(3) Submit supplemental reports if you obtain information that you did
        not submit in an initial report.

    (f) 21 C.F.R. 803.50(a)- (a) If you are a manufacturer, you must report to us no later
        than 30 calendar days after the day that you receive or otherwise become aware
        of information, from any source, that reasonably suggests that a device that you
        market:(1) May have caused or contributed to a death or serious injury; or(2)

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        Has malfunctioned and this device or a similar device that you market would be
        likely to cause or contribute to a death or serious injury, if the malfunction were
        to recur.(b) What information does FDA consider "reasonably known" to me?(1)
        You must submit all information required in this subpart E that is reasonably
        known to you. We consider the following information to be reasonably known
        to you:(i) Any information that you can obtain by contacting a user facility,
        importer, or other initial reporter;(ii) Any information in your possession; or (iii)
        Any information that you can obtain by analysis, testing, or other evaluation of
        the device.(2) You are responsible for obtaining and submitting to us information
        that is incomplete or missing from reports submitted by user facilities, importers,
        and other initial reporters.(3) You are also responsible for conducting an
        investigation of each event and evaluating the cause of the event. If you cannot
        submit complete information on a report, you must provide a statement
        explaining why this information was incomplete and the steps you took to obtain
        the information. If you later obtain any required information that was not
        available at the time you filed your initial report, you must submit this
        information in a supplemental report under 803.56.

    (g) 21 C.F.R. 803.53- You must submit a 5-day report to us, on Form 3500A or an
        electronic equivalent approved under 803.14, no later than 5 work days after the
        day that you become aware that:(a) An MDR reportable event necessitates
        remedial action to prevent an unreasonable risk of substantial harm to the public
        health. You may become aware of the need for remedial action from any
        information, including any trend analysis; or(b) We have made a written request
        for the submission of a 5-day report. If you receive such a written request from
        us, you must submit, without further requests, a 5-day report for all subsequent
        events of the same nature that involve substantially similar devices for the time
        period specified in the written request. We may extend the time period stated in
        the original written request if we determine it is in the interest of the public
        health.

    (h) 21 C.F.R. 806.10- (a) Each device manufacturer or importer shall submit a
        written report to FDA of any correction or removal of a device initiated by such
        manufacturer or importer if the correction or removal was initiated:(1) To reduce
        a risk to health posed by the device; or(2) To remedy a violation of the act caused
        by the device which may present a risk to health unless the information has
        already been provided as set forth in paragraph (f) of this section or the corrective
        or removal action is exempt from the reporting requirements under 806.1(b).(b)
        The manufacturer or importer shall submit any report required by paragraph (a)
        of this section within 10-working days of initiating such correction or
        removal.(c) The manufacturer or importer shall include the following
        information in the report:(1) The seven digit registration number of the entity
        responsible for submission of the report of corrective or removal action (if
        applicable), the month, day, and year that the report is made, and a sequence
        number (i.e., 001 for the first report, 002 for the second report, 003 etc.), and the
        report type designation "C" or "R". For example, the complete number for the

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       first correction report submitted on June 1, 1997, will appear as follows for a
       firm with the registration number 1234567: 1234567-6/1/97-001-C. The second
       correction report number submitted by the same firm on July 1, 1997, would be
       1234567-7/1/97-002-C etc. For removals, the number will appear as follows:
       1234567-6/1/97-001-R and 1234567-7/1/97-002-R, etc. Firms that do not have
       a seven digit registration number may use seven zeros followed by the month,
       date, year, and sequence number (i.e. 0000000-6/1/97-001-C for corrections and
       0000000-7/1/97-001-R for removals). Reports received without a seven digit
       registration number will be assigned a seven digit central file number by the
       district office reviewing the reports.(2) The name, address, and telephone
       number of the manufacturer or importer, and the name, title, address, and
       telephone number of the manufacturer or importer representative responsible for
       conducting the device correction or removal.(3) The brand name and the
       common name, classification name, or usual name of the device and the intended
       use of the device.(4) Marketing status of the device, i.e., any applicable
       premarket notification number, premarket approval number, or indication that
       the device is a pre-amendments device, and the device listing number. A
       manufacturer or importer that does not have an FDA establishment registration
       number shall indicate in the report whether it has ever registered with FDA.(5)
       The unique device identifier (UDI) that appears on the device label or on the
       device package, or the device identifier, universal product code (UPC), model,
       catalog, or code number of the device and the manufacturing lot or serial number
       of the device or other identification number.(6) The manufacturer's name,
       address, telephone number, and contact person if different from that of the
       person submitting the report.(7) A description of the event(s) giving rise to the
       information reported and the corrective or removal actions that have been, and
       are expected to be taken.(8) Any illness or injuries that have occurred with use
       of the device. If applicable, include the medical device report numbers.(9) The
       total number of devices manufactured or distributed subject to the correction or
       removal and the number in the same batch, lot, or equivalent unit of production
       subject to the correction or removal.(10) The date of manufacture or distribution
       and the device's expiration date or expected life.(11) The names, addresses, and
       telephone numbers of all domestic and foreign consignees of the device and the
       dates and number of devices distributed to each such consignee.(12) A copy of
       all communications regarding the correction or removal and the names and
       addresses of all recipients of the communications not provided in accordance
       with paragraph (c)(11) of this section.(13) If any required information is not
       immediately available, a statement as to why it is not available and when it will
       be submitted.(d) If, after submitting a report under this part, a manufacturer or
       importer determines that the same correction or removal should be extended to
       additional lots or batches of the same device, the manufacturer or importer shall
       within 10-working days of initiating the extension of the correction or removal,
       amend the report by submitting an amendment citing the original report number
       assigned according to paragraph (c)(1) of this section, all of the information
       required by paragraph (c)(2), and any information required by paragraphs (c)(3)
       through (c)(12) of this section that is different from the information submitted in

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       the original report. The manufacturer or importer shall also provide a statement
       in accordance with paragraph (c)(13) of this section for any required information
       that is not readily available.(e) A report submitted by a manufacturer or importer
       under this section (and any release by FDA of that report or information) does
       not necessarily reflect a conclusion by the manufacturer, importer, or FDA that
       the report or information constitutes an admission that the device caused or
       contributed to a death or serious injury. A manufacturer or importer need not
       admit, and may deny, that the report or information submitted under this section
       constitutes an admission that the device caused or contributed to a death or
       serious injury.(f) No report of correction or removal is required under this part,
       if a report of the correction or removal is required and has been submitted under
       parts 803 or 1004 of this chapter.[62 FR 27191, May 19, 1997, as amended at 63
       FR 42232, Aug. 7, 1998; 69 FR 11311, Mar. 10, 2004; 78 FR 55821, Sept. 24,
       2013]

    (i) 21 C.F.R. 814.84-(a) The holder of an approved PMA shall comply with the
        requirements of part 803 and with any other requirements applicable to the
        device by other regulations in this subchapter or by order approving the
        device.(b) Unless FDA specifies otherwise, any periodic report shall:(1) Identify
        changes described in 814.39(a) and changes required to be reported to FDA
        under 814.39(b).(2) Contain a summary and bibliography of the following
        information not previously submitted as part of the PMA:(i) Unpublished reports
        of data from any clinical investigations or nonclinical laboratory studies
        involving the device or related devices and known to or that reasonably should
        be known to the applicant.(ii) Reports in the scientific literature concerning the
        device and known to or that reasonably should be known to the applicant. If,
        after reviewing the summary and bibliography, FDA concludes that the agency
        needs a copy of the unpublished or published reports, FDA will notify the
        applicant that copies of such reports shall be submitted.(3) Identify changes
        made pursuant to an exception or alternative granted under 801.128 or 809.11 of
        this chapter.(4) Identify each device identifier currently in use for the device,
        and each device identifier for the device that has been discontinued since the
        previous periodic report. It is not necessary to identify any device identifier
        discontinued prior to December 23, 2013.

    (j) 21 C.F.R. 820.65- Each manufacturer of a device that is intended for surgical
        implant into the body or to support or sustain life and whose failure to perform
        when properly used in accordance with instructions for use provided in the
        labeling can be reasonably expected to result in a significant injury to the user
        shall establish and maintain procedures for identifying with a control number
        each unit, lot, or batch of finished devices and where appropriate components.
        The procedures shall facilitate corrective action. Such identification shall be
        documented in the DHR.

    (k) 21 C.F.R. 822-Post market surveillance- This part implements section 522 of the
        Federal Food, Drug, and Cosmetic Act (the act) by providing procedures and

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       requirements for postmarket surveillance of class II and class III devices that
       meet any of the following criteria:(a) Failure of the device would be reasonably
       likely to have serious adverse health consequences;(b) The device is intended to
       be implanted in the human body for more than 1 year;… The purpose of this part
       is to implement our postmarket surveillance authority to maximize the likelihood
       that postmarket surveillance plans will result in the collection of useful data.
       These data can reveal unforeseen adverse events, the actual rate of anticipated
       adverse events, or other information necessary to protect the public health.

    (l) 21 C.F.R. 820.100(a) 6 -7- Corrective and Preventive Action-(a) Each
        manufacturer shall establish and maintain procedures for implementing
        corrective and preventive action. The procedures shall include requirements
        for:(1) Analyzing processes, work operations, concessions, quality audit reports,
        quality records, service records, complaints, returned product, and other sources
        of quality data to identify existing and potential causes of nonconforming
        product, or other quality problems. Appropriate statistical methodology shall be
        employed where necessary to detect recurring quality problems;(2) Investigating
        the cause of nonconformities relating to product, processes, and the quality
        system;(3) Identifying the action(s) needed to correct and prevent recurrence of
        nonconforming product and other quality problems;(4) Verifying or validating
        the corrective and preventive action to ensure that such action is effective and
        does not adversely affect the finished device;(5) Implementing and recording
        changes in methods and procedures needed to correct and prevent identified
        quality problems;(6) Ensuring that information related to quality problems or
        nonconforming product is disseminated to those directly responsible for assuring
        the quality of such product or the prevention of such problems; and(7)
        Submitting relevant information on identified quality problems, as well as
        corrective and preventive actions, for management review.(b) All activities
        required under this section, and their results, shall be documented.

    (m) 21 C.F.R. 820.70(e)(h) (a) General. Each manufacturer shall develop, conduct,
        control, and monitor production processes to ensure that a device conforms to
        its specifications. Where deviations from device specifications could occur as a
        result of the manufacturing process, the manufacturer shall establish and
        maintain process control procedures that describe any process controls necessary
        to ensure conformance to specifications. Where process controls are needed they
        shall include:(1) Documented instructions, standard operating procedures
        (SOP's), and methods that define and control the manner of production;(2)
        Monitoring and control of process parameters and component and device
        characteristics during production;(3) Compliance with specified reference
        standards or codes;(4) The approval of processes and process equipment; and(5)
        Criteria for workmanship which shall be expressed in documented standards or
        by means of identified and approved representative samples.(b) Production and
        process changes. Each manufacturer shall establish and maintain procedures for
        changes to a specification, method, process, or procedure. Such changes shall be
        verified or where appropriate validated according to 820.75, before

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       implementation and these activities shall be documented. Changes shall be
       approved in accordance with 820.40.(e) Contamination control. Each
       manufacturer shall establish and maintain procedures to prevent contamination
       of equipment or product by substances that could reasonably be expected to have
       an adverse effect on product quality.(h) Manufacturing material. Where a
       manufacturing material could reasonably be expected to have an adverse effect
       on product quality, the manufacturer shall establish and maintain procedures for
       the use and removal of such manufacturing material to ensure that it is removed
       or limited to an amount that does not adversely affect the device's quality. The
       removal or reduction of such manufacturing material shall be documented.

    (n) 21 C.F.R. 820.90-(a) Control of nonconforming product. Each manufacturer
        shall establish and maintain procedures to control product that does not conform
        to specified requirements. The procedures shall address the identification,
        documentation, evaluation, segregation, and disposition of nonconforming
        product. The evaluation of nonconformance shall include a determination of the
        need for an investigation and notification of the persons or organizations
        responsible for the nonconformance. The evaluation and any investigation shall
        be documented.(b) Nonconformity review and disposition. (1) Each
        manufacturer shall establish and maintain procedures that define the
        responsibility for review and the authority for the disposition of nonconforming
        product. The procedures shall set forth the review and disposition process.
        Disposition of nonconforming product shall be documented. Documentation
        shall include the justification for use of nonconforming product and the signature
        of the individual(s) authorizing the use.(2) Each manufacturer shall establish and
        maintain procedures for rework, to include retesting and reevaluation of the
        nonconforming product after rework, to ensure that the product meets its current
        approved specifications. Rework and reevaluation activities, including a
        determination of any adverse effect from the rework upon the product, shall be
        documented in the DHR.

    (o) 21 C.F.R. 820.90-(a) Each manufacturer shall establish and maintain procedures
        for the control of storage areas and stock rooms for product to prevent mix-ups,
        damage, deterioration, contamination, or other adverse effects pending use or
        distribution and to ensure that no obsolete, rejected, or deteriorated product is
        used or distributed. When the quality of product deteriorates over time, it shall
        be stored in a manner to facilitate proper stock rotation, and its condition shall
        be assessed as appropriate.(b) Each manufacturer shall establish and maintain
        procedures that describe the methods for authorizing receipt from and dispatch
        to storage areas and stock rooms.

    (p) 21 C.F.R. 820.180- All records required by this part shall be maintained at the
        manufacturing establishment or other location that is reasonably accessible to
        responsible officials of the manufacturer and to employees of FDA designated
        to perform inspections. Such records, including those not stored at the inspected
        establishment, shall be made readily available for review and copying by FDA

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       employee(s). Such records shall be legible and shall be stored to minimize
       deterioration and to prevent loss. Those records stored in automated data
       processing systems shall be backed up.

    (q) 21 C.F.R. 820.198-(a) Each manufacturer shall maintain complaint files. Each
        manufacturer shall establish and maintain procedures for receiving, reviewing,
        and evaluating complaints by a formally designated unit. Such procedures shall
        ensure that:(1) All complaints are processed in a uniform and timely manner;(2)
        Oral complaints are documented upon receipt; and(3) Complaints are evaluated
        to determine whether the complaint represents an event which is required to be
        reported to FDA under part 803 of this chapter, Medical Device Reporting.(b)
        Each manufacturer shall review and evaluate all complaints to determine
        whether an investigation is necessary. When no investigation is made, the
        manufacturer shall maintain a record that includes the reason no investigation
        was made and the name of the individual responsible for the decision not to
        investigate.(c) Any complaint involving the possible failure of a device, labeling,
        or packaging to meet any of its specifications shall be reviewed, evaluated, and
        investigated, unless such investigation has already been performed for a similar
        complaint and another investigation is not necessary.(d) Any complaint that
        represents an event which must be reported to FDA under part 803 of this chapter
        shall be promptly reviewed, evaluated, and investigated by a designated
        individual(s) and shall be maintained in a separate portion of the complaint files
        or otherwise clearly identified. In addition to the information required by
        820.198(e), records of investigation under this paragraph shall include a
        determination of:(1) Whether the device failed to meet specifications;(2)
        Whether the device was being used for treatment or diagnosis; and(3) The
        relationship, if any, of the device to the reported incident or adverse event.(e)
        When an investigation is made under this section, a record of the investigation
        shall be maintained by the formally designated unit identified in paragraph (a)
        of this section. The record of investigation shall include:(1) The name of the
        device;(2) The date the complaint was received;(3) Any unique device identifier
        (UDI) or universal product code (UPC), and any other device identification(s)
        and control number(s) used;(4) The name, address, and phone number of the
        complainant;(5) The nature and details of the complaint;(6) The dates and results
        of the investigation;(7) Any corrective action taken; and(8) Any reply to the
        complainant.(f) When the manufacturer's formally designated complaint unit is
        located at a site separate from the manufacturing establishment, the investigated
        complaint(s) and the record(s) of investigation shall be reasonably accessible to
        the manufacturing establishment.(g) If a manufacturer's formally designated
        complaint unit is located outside of the United States, records required by this
        section shall be reasonably accessible in the United States at either:(1) A location
        in the United States where the manufacturer's records are regularly kept; or(2)
        The location of the initial distributor.

    (r) 21 C.F.R. 820.30 - Each manufacturer of any class III or class II device, and the
        class I devices listed in paragraph (a)(2) of this section, shall establish and

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        maintain procedures to control the design of the device in order to ensure that
        specified design requirements are met.

    (s) 21 U.S.C. 352(q)(1) and 21 U.S.C. 331(a)- A drug or device shall be deemed to
        be misbranded…If its labeling is false or misleading. The following acts and
        the causing thereof are prohibited: the introduction or delivery for introduction
        into interstate commerce…any device that is adulterated or misbranded.

    (t) 21 U.S.C. 351(a) (h)- A drug or device shall deemed to be adulterated…if it has
        been prepared, packed, or held under insanitary conditions whereby it may have
        been contaminated with filth….or its manufacturing, processing, packing, or
        holding do not conform with current good manufacturing practice…if is…not in
        conformity with …an applicable condition prescribed by an order.

    (u) 21 U.S.C. 352 (q) (r)- Restricted devices using false or misleading advertising
        or used in violation of regulations- In the case of any restricted device distributed
        or offered for sale in any State, if (1) its advertising is false or misleading in any
        particular, or (2) it is sold, distributed, or used in violation of regulations
        prescribed under section 360j(e) of this title. Restricted devices not carrying
        requisite accompanying statements in advertisements and other descriptive
        printed matter. In the case of any restricted device distributed or offered for sale
        in any State, unless the manufacturer, packer, or distributor thereof includes in
        all advertisements and other descriptive printed matter issued or caused to be
        issued by the manufacturer, packer, or distributor with respect to that device (1)
        a true statement of the device's established name as defined in subsection (e) of
        this section, printed prominently and in type at least half as large as that used for
        any trade or brand name thereof, and (2) a brief statement of the intended uses
        of the device and relevant warnings, precautions, side effects, and
        contraindications and, in the case of specific devices made subject to a finding
        by the Secretary after notice and opportunity for comment that such action is
        necessary to protect the public health, a full description of the components of
        such device or the formula showing quantitatively each ingredient of such device
        to the extent required in regulations which shall be issued by the Secretary after
        an opportunity for a hearing.

    (v) FDA requirement in CPMA order- “Within 10 days after Defendant receives
        knowledge of any adverse reaction to report the matter to the FDA.”

    (w) FDA requirement in CPMA order- “Report to the FDA under the MDR
        whenever it receives information from any source that reasonably suggests that
        the device may have caused or contributed to a serious injury.”

    (x) FDA requirement in CPMA order- Report Due Dates- six month, one year,
        eighteenth month, and two year reports.




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                (y) FDA requirement in CPMA order- A device may not be manufactured,
                    packaged, stored, labeled, distributed, or advertised in a manner that is
                    inconsistent with any conditions to approval specified in a CPMA approval order
                    for the device. 21 C.F.R. Section 814.80.

                (z) FDA requirement in CPMA order- Warranties are truthful, accurate, and not
                    misleading…Warranties are consistent with applicable Federal and State law.

        217.     Defendants breached these duties by not complying with its CPMA or Federal

law:

                (a) Defendants failed to timely provide the FDA with reports after twelve months,
                    eighteen months and then a final report for one schedule. Defendants also failed
                    to timely submit post approval reports for its six month, one year, eighteen
                    month and two year reports. All reports failed to meet the respective deadlines.

                (b) Defendants failed to document successful placement of Essure concealing the
                    failure rates.

                (c) Defendants failed to notice the FDA of several adverse reactions and actively
                    concealed the same. Defendant failed to report 8 perforations which occurred as
                    a result of Essure and was cited for the same by the FDA via Form 483. 26

                (d) Defendants failed to report to the FDA information it received that reasonably
                    suggested that the device may have caused or contributed to a serious injury
                    concealing the injuries. Again, Defendants failed to report 8 perforations as
                    adverse events which occurred as a result of Essure to the FDA as evidenced in
                    Form 483.

                (e) Defendants failed to notice the FDA of their internal excel file containing 16,047
                    entries of complaints.

                (f) Defendants excluded the risk assessment for safety of loose coils in its Risk
                    Management Plan and stated that Defendants had violated the FDCCA.

                (g) erroneously using non-conforming material in the manufacturing of Essure;

                (h) failing to use pre-sterile and post-sterile cages;

                (i) manufacturing Essure at an unlicensed facility;

                (j) manufacturing Essure for three years without a license to do so.


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  Form 483 is issued to firm management at the conclusion of inspection when an FDA investigator has observed
any conditions that violate the FD&C Act rendering the device “adulterated.”

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    (k) Not reporting … complaints in which their product migrated;

    (l) Not considering these complaints in their risk analysis for the design of Essure;

    (m) Failing to document CAPA activities for a supplier corrective action;

    (n) On January 6, 2011, the FDA issued a violation to Defendant for the following:
        “An MDR report was not submitted within 30 days of receiving or otherwise
        becoming aware of information that reasonably suggests that a marketed device
        may have caused or contributed to a death or serious injury if the malfunction
        were to recur.” Form 483/Violation form issued by Timothy Grome on January
        6, 2011. These failures included incidents regarding perforation of bowels,
        Essure coils breaking into pieces, and Essure coils migrating out of the fallopian
        tubes. Defendants were issued these violations for dates of incidents 9/1/10.
        10/26/10, 5/11/10, 10/5/10, 10/1/10, 11/5/10, 11/16/10, and 11/3/10.

    (o) Defendants had notice of 168 perforations but only disclosed 22 to the FDA. Id.

    (p) On January 6, 2011, Defendants were cited for their risk analysis of Essure being
        incomplete. Specifically, the FDA found that the Design Failure Modes Effects
        Analysis for Essure didn’t include as a potential failure mode or effect, location
        of the micro-insert coil in the peritoneal cavity.

    (q) On January 6, 2011, Defendants were cited for not documenting Corrective and
        Preventive Action Activities. Specifically, the FDA found that there were
        failures in Defendants’ Design. The FDA also found that Defendants’ CAPA
        did not mention the non-conformity of materials used in Essure or certain
        detachment failures. The FDA found that Defendants’ engineers learned of this
        and it was not documented.

    (r) On July 7, 2003, Defendants were cited for not analyzing to identify existing and
        potential causes of non-conforming product and other quality problems.
        Specifically, two lot history records showed rejected raw material which was not
        documented on a quality assurance form, which is used to track the data.
        (Inner/outer coil subassemblies were rejected but then not documented, leading
        to the question of where the rejected components went)

    (s) On July 7, 2003, Defendants were cited for not following procedures used to
        control products which did not confirm to specifications.

    (t) Defendants failed to disclose to Plaintiff and their implanting physicians the fact
        that it Defendants altered medical records to reflect less pain then was being
        reported during the clinical studies for Essure and changed the birth dates of
        others to obtain certain age requirements that were needed to go through the
        PMA process.

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        218.    Had Defendants disclosed such information as was required by its CPMA and

Federal law to Plaintiff or Implanting Physicians, Plaintiff would have never had Essure implanted

in them and would have avoided injuries.

        219.    At all times referenced herein, Defendants and each of them were acting as agents

and employees of each of the other defendants and were acting within the scope, purpose and

authority of that agency and employment and with full knowledge, permission and consent of each

other Defendant.

        220.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

sustained the injuries noted above.

        221.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

had to undergo numerous surgical procedures, diagnostic procedures, and may have to undergo

surgeries, diagnostic testing, treatment and rehabilitation into the indefinite future.

        222.    As a result of Defendants’ negligence, individually, jointly, and severally, Plaintiff

sustained significant pain and suffering, both physical and mental, and will continue to do so into

the indefinite future.

        223.    Plaintiff has been forced to expend significant sums of money for treatment of the

multitude of surgeries, testing, medicine, therapies along with related expenses, all to their

significant financial detriment and loss, and may have to endure significant financial expenditures

into the foreseeable future.

        224.    Plaintiff has suffered a significant decrease in their ability to earn money in the

future, as well as a significant loss of earning capacity.

        WHEREFORE, for the above reasons, Plaintiff demands judgment in her favor and against

the Defendants for an amount in excess of $50,000.00 each, compensatory, punitive damages,

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incidental, consequential, including pain and suffering which was a foreseeable consequential

damage, delay damages, attorney’s fees and costs of suit in an amount to be determined upon the

trial of this matter.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully demand judgment against all Defendants and each

of them, individually, jointly and severally, and request compensatory damages, together with

interest, cost of suit, attorneys’ fees, and all such other relief as the Court deems just and proper as

well as:

        A)      compensatory damages for past, present, and future damages, including, but not
                limited to, great pain and suffering and emotional distress and anguish, for personal
                injuries sustained by Plaintiffs, health and medical care costs, together with interest
                and costs as provided by law;

        B)      for all ascertainable economic and non-economic damages in an amount as
                provided by law and to be supported by evidence at trial;

        C)      for specific damages according to proof;

        D)      for Punitive and Exemplary damages according to proof;

        E)      for pre-judgment interest and post-judgment interest as allowed by law;

        F)      for reasonable attorneys’ fees;

        G)      for the costs of these proceedings; and

        H)      for such other and further relief as this Court deems just and proper.




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                             DEMAND FOR JURY TRIAL

Plaintiffs demand a jury trial with regards to all claims.

DATED this 29th day of October, 2018.



                                       Respectfully submitted,

                                       LECKMAN LAW, LLC

                                       /s/ T. Matthew Leckman
                                       T. Matthew Leckman
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                                       Attorney for Plaintiffs




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                                        VERIFICATION

        I, T. Matthew Leckman, verify that upon my knowledge or information and belief the facts

set forth in the foregoing Complaint are true and correct to the best of my knowledge. This

statement is made subject to the penalties of 18 Pa.C.S. § 4904 relating to unsworn falsification to

authorities.

        DATED this 29th day of October, 2018.


                                                     /s/ T. Matthew Leckman
                                                     T. Matthew Leckman
                                                     Attorney for Plaintiffs




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